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               EXHIBIT 1

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         OF DOCUMENT(S)
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1                  UNITED STATES DISTRICT COURT
2                 NORTHERN DISTRICT OF CALIFORNIA
3                        SAN FRANCISCO DIVISION
4
5     WAYMO LLC,
6                Plaintiff,
7     vs.                                          No. 3:17-cv-00939-WHA
8     UBER TECHNOLOGIES, INC.;
9     OTTOMOTTO LLC; OTTO TRUCKING,
10    INC.,
11               Defendants.
      _____________________________/
12
13          HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
14
15              VIDEOTAPED DEPOSITION OF LARRY PAGE
16                       PALO ALTO, CALIFORNIA
17                       MONDAY, JULY 17, 2017
18
19
20
21    BY:     ANDREA M. IGNACIO, CSR, RPR, CRR, CCRR, CLR ~
22    CSR LICENSE NO. 9830
23    JOB NO. 2658732
24
25    PAGES 1 - 219

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1                  UNITED STATES DISTRICT COURT
2                 NORTHERN DISTRICT OF CALIFORNIA
3                      SAN FRANCISCO DIVISION
4
5     WAYMO LLC,
6                Plaintiff,
7     vs.                                          No. 3:17-cv-00939-WHA
8     UBER TECHNOLOGIES, INC.;
9     OTTOMOTTO LLC; OTTO TRUCKING,
10    INC.,
11               Defendants.
12    _____________________________/
13
14
15            Videotaped Deposition of Larry Page, taken
16    on behalf of the Defendants, on July 17, 2017, at
17    Wilson Sonsini Goodrich & Rosati, 601 California
18    Avenue, Palo Alto, California, beginning
19    12:06 a.m., and commencing at 4:54 p.m., Pursuant
20    to Notice, and before me, ANDREA M. IGNACIO, CSR,
21    RPR, CRR, CLR ~ License No. 9830.
22
23
24
25

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1     A P P E A R A N C E S: (Cont.)
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13    ALSO PRESENT:
14            Ramon Perraza, Videographer
15            Nicole T. Bartow, Uber
16            Aaron Bergstrom, Uber
17            Nora Puckett, Alphabet
18            Katherine Oacavera, Alphabet
19
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1                        PALO ALTO, CALIFORNIA                              10:47

2                        MONDAY, JULY 17, 2017                              10:49

3                               12:06 P.M.                                  10:49

4                                                                           10:49

5                                                                           10:49

6                                                                           10:49

7              THE VIDEOGRAPHER:     Good afternoon.          We are on     10:54

8      the record at 12:06 p.m. on July 17th, 2017.             This is     12:06

9      the videotaped deposition of Mr. Larry Page.                         12:06

10             My name is Ramon Perraza, here with our court                12:06

11     reporter, Andrea Ignacio.     We are here from Veritext              12:06

12     Legal Solutions at the request of counsel for the                    12:06

13     defendant.                                                           12:06

14             This deposition is being held at Wilson                      12:06

15     Sonsini in Palo Alto.                                                12:06

16             The caption of this case is Waymo, LLC                       12:06

17     versus Uber Technologies, Inc., et al.          Case                 12:06

18     No. 3:17-CV-00939-WHA.                                               12:06

19             Please note that audio and video recording                   12:06

20     will take place unless all parties have agreed to go                 12:06

21     off the record.    Microphones are sensitive and may                 12:07

22     pick up whispers or private conversations.                           12:07

23             At this time, Counsel, please identify                       12:07

24     yourselves for the record and state whom you                         12:07

25     represent.                                                           12:07

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1                 MR. GONZALEZ:     Arturo Gonzalez from               12:07

2      Morrison & Foerster, on behalf of Uber.                         12:07

3                 MS. BARTOW:     Nicole Bartow, in-house counsel      12:07

4      at Uber.                                                        12:07

5                 MR. BERGSTROM:     Aaron Bergstrom, in-house         12:07

6      counsel at Uber.                                                12:07

7                 MR. NORRIS:     Ken Norris, Boies, Schiller &        12:07

8      Flexner, on behalf of Uber.                                     12:07

9                 MR. CHATTERJEE:     Neel Chatterjee, on behalf       12:07

10     of Otto Trucking.                                               12:07

11                MR. NARDINELLI:     Jeff Nardinelli of Quinn         12:07

12     Emanuel, on behalf of Waymo.                                    12:07

13                MS. HUBER:     Jennifer Huber, Keker, Van Nest &     12:07

14     Peters, on behalf of Alphabet and Mr. Page.                     12:07

15                MS. PUCKETT:     Nora Puckett, Alphabet.             12:07

16                MS. OACAVERA:     Katherine Oacavera, Alphabet.      12:07

17                MR. PERLSON:     David Perlson, Quinn Emanuel,       12:07

18     for Waymo.                                                      12:07

19                MR. VAN NEST:     And Bob Van Nest, Keker,           12:07

20     Van Nest & Peters, for Alphabet and Mr. Page.                   12:07

21                THE VIDEOGRAPHER:     The court reporter may now     12:07

22     swear in the witness.

23     ///

24     ///

25     ///

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1                                 LARRY PAGE,

2                        having been sworn as a witness

3                  by the Certified Shorthand Reporter,

4                            testified as follows:

5

6                                 EXAMINATION

7      BY MR. GONZALEZ:

8          Q      Sir, you are one of the founders of Google;             12:08

9      correct?                                                           12:08

10         A      Yes.                                                    12:08

11         Q      And you're currently the CEO of Alphabet?               12:08

12         A      That's correct.                                         12:08

13         Q      Alphabet is the parent company of both Google           12:08

14     and Waymo; is that right?                                          12:08

15         A      That's right.                                           12:08

16         Q      Sir, I'd like to start by asking you some               12:08

17     questions about the bonus that was paid to Anthony                 12:08

18     Levandowski.        He received a bonus that was in excess         12:08

19     of $120 million; is that right?                                    12:08

20         A      I'm not familiar with the exact amount, but             12:08

21     that sounds correct.                                               12:08

22         Q      You recall it was over 100 million?                     12:08

23         A      I recall it was large.                                  12:08

24         Q      Did you approve that bonus?                             12:08

25         A      I was definitely aware of it.          I'm not sure     12:08

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1      of the process for granting him the bonus.                    12:08

2            Q   Did you agree with the amount of the bonus?         12:08

3            A   There was some process during the                   12:08

4      compensation that arrived at that, and I don't think I        12:08

5      participated in that.                                         12:08

6            Q   You did not participate in it?                      12:08

7            A   I did not participate in the process of that.       12:08

8            Q   Who did?                                            12:08

9            A   There was a -- I know there was a, you know,        12:09

10     process by which they decided what the bonus payouts          12:09

11     were.                                                         12:09

12           Q   Do you know of anybody in Project Chauffeur         12:09

13     who received a bonus that was higher, greater, than           12:09

14     Anthony Levandowski?                                          12:09

15           A   I don't recall the amounts, but I think it          12:09

16     was                  .                                        12:09

17           Q   Did you think it was appropriate for                12:09

18     Mr. Levandowski to receive                          ?         12:09

19           A   Not sure I considered that question.                12:09

20           Q   Well, thinking back on it today, do you think       12:09

21     it's appropriate for Mr. Levandowski to have received         12:09

22                                                               ?   12:09

23           A   I think that we did -- we built a program           12:09

24     that generated a lot of success for the Chauffeur             12:09

25     program that was start-up-like, and I think we got --         12:09

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1      we got a good -- good outcome of that.                          12:09

2          Q   Do you believe that Mr. Levandowski                     12:09

3      contributed to the positive outcome?                            12:09

4          A   I'm still learning about that, I feel.                  12:10

5          Q   You said that it was start-up-like.                     12:10

6              By that, do you mean that the bonus system              12:10

7      was set up in order to encourage employees to stay as           12:10

8      though it were a start-up?                                      12:10

9          A   I don't think that was the main point of it,            12:10

10     I think, in my mind.     Really, to incentivize really          12:10

11     good outcomes, and really focus on achieving those              12:10

12     outcomes.                                                       12:10

13         Q   Do you recall that there was concern that,              12:10

14     without a bonus program, some of the Project Chauffeur          12:10

15     people would leave and set up their own start-up?               12:10

16         A   I don't recall that exact concern.          But, in     12:10

17     any effort, retention is always something that you              12:10

18     would focus on.                                                 12:10

19         Q   At Google, do you have something that you               12:10

20     call autonomous units?                                          12:10

21         A   I think at some points we did.                          12:10

22         Q   And autonomous --                                       12:10

23         A   That's not -- that's not typically what we              12:10

24     would do today, I think.                                        12:10

25         Q   Understood.                                             12:11

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1                But, at least back at the time that Project        12:11

2      Chauffeur was started, was Project Chauffeur                 12:11

3      considered an autonomous unit at Google?                     12:11

4            A   I don't recall exactly how it got started.         12:11

5      It was also part of kind of ac- -- X's Genesis, I            12:11

6      believe, but that was quite a while ago.                     12:11

7




                                                                    12:12

23               MR. GONZALEZ:   Let me show you a document         12:12

24     that we've marked as Exhibit 1085.                           12:12

25     ///                                                          12:12

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1             (Document marked Exhibit 1085 - 1086                 12:12

2               for identification.)                               12:12

3             MR. VAN NEST:     Thank you.                         12:12

4             MR. GONZALEZ:     1085, for the record, is a         12:12

5     document produced by Waymo in this litigation with           12:12

6     Bates stamp No. '14504.                                      12:12

7




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1




                                                                    12:14

13         Q    All right.                                          12:14

14              MR. GONZALEZ:   Let me show you Exhibit 1086,       12:14

15     which is six months later,




                                                                    12:14

22         Q    Now, this is at around the time that you came       12:14

23     up with the big payout numbers for the group; is that        12:14

24     right?                                                       12:14

25         A    I don't remember when that happened, either.        12:14

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1




                                                                       12:15

23         Q   I don't know.                                           12:15

24         A   Is that what you're asking me?          No, I don't     12:15

25     think there is.                                                 12:16

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1         Q   That's what I'm trying to figure out.                12:16

2         A   I don't think there is.                              12:16

3




                                                                   12:16

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1




                                                                    12:17

6              MR. VAN NEST:     I'll object to the extent the      12:17

7      question may call for privileged information.                12:17

8              Don't disclose the content of any discussion         12:17

9      you had with Mr. Drummond.                                   12:17

10             MR. GONZALEZ:     At this point --                   12:17

11             MR. VAN NEST:     But otherwise, you may answer.     12:17

12             MR. GONZALEZ:     -- at this point, I'm just         12:17

13     asking yes or no.                                            12:17

14         Q   Do you remember anything?                            12:17

15         A   Sorry.   Can you -- can you restate it --            12:17

16         Q   Sure.                                                12:17

17         A   -- or state it again?                                12:17

18




                                                                    12:17

23         A   No, I don't recall that.                             12:17

24         Q   Even generally?                                      12:17

25         A   No.                                                  12:17

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1          Q    And, sitting here today, you believe it was               12:17

2      likely that Mr. Drummond was involved.                             12:17

3               Do you know for sure one way or the other?                12:17

4          A    I mean, I don't recall.       It would be highly          12:17

5      unusual for us not to review this, you know, as part               12:17

6      of our management.                                                 12:18

7          Q    Did you believe, in December of 2015, that                12:18

8      Anthony Levandowski had made significant contributions             12:18

9      to Project Chauffeur?                                              12:18

10         A    I'm just trying to get the time frame                     12:18

11     straight in my head.    December of 2015 -- when did he            12:18

12     leave?                                                             12:18

13         Q    He left the following month.                              12:18

14         A    Okay.                                                     12:18

15         Q    So, in December of 2015, before he left                   12:18

16     Google's employment, did you believe at that time that             12:18

17     he had made significant contributions to Project                   12:18

18     Chauffeur?                                                         12:18

19         A    I mean, I think he's definitely been a                    12:18

20     significant person in the history of the project.                  12:18

21         Q    And tell me why you believe that.          If you can     12:18

22     elaborate.                                                         12:18

23              What is it that he did that, in your mind,                12:18

24     makes his contribution significant?                                12:18

25         A    Well, I didn't say that.       I said he's been a         12:18

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1      significant person.    I think it has yet to be              12:18

2      determined whether it's a positive or negative               12:18

3      contribution.                                                12:18

4          Q   All right.                                           12:18

5              What do you mean by "a significant person"?          12:19

6          A   Well, he was one of the leaders on the team          12:19

7      for most of his history and had a significant kind of        12:19

8      role as a result of that.                                    12:19

9          Q   You would not have approved of a bonus of            12:19

10     over $100 million if he hadn't made a significant            12:19

11     contribution.                                                12:19

12             Can we agree on that?                                12:19

13         A   I guess I'm questioning -- what is the               12:19

14     purpose of that question?                                    12:19

15             No one decided to pay me billions of dollars.        12:19

16         Q   No, but --                                           12:19

17         A   So --                                                12:19

18         Q   -- you were the CEO at the time that he got          12:19

19     the bonus; right?                                            12:19

20         A   I did not have discretion not to pay the             12:19

21     bonus, as far as I could tell.                               12:19

22         Q   Per the contract, that was your                      12:19

23     understanding?                                               12:19

24         A   Yes.                                                 12:19

25         Q   Did you ever express concern to anyone that          12:19

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1      the bonus was too high that was being paid to                    12:19

2      Mr. Levandowski?                                                 12:19

3          A   Well, as I kind of just stated, I think                  12:19

4      that's -- I've stated we were focused on getting a               12:19

5      start-up-like compensation system.         And start-ups pay     12:19

6      people a lot of money if they do something                       12:19

7      significant -- if the start-up does something                    12:20

8      significant.                                                     12:20

9              And, I'm sure many people would argue those              12:20

10     numbers are too big, but that system seems to work               12:20

11     pretty well.                                                     12:20

12




                                                                        12:20

16         Q   Can you think of any other Google employee,              12:20

17     during your entire tenure, who has received a bonus in           12:20

18     excess of $100 million for anything?                             12:20

19         A   I mean, we've paid a number of Google                    12:20

20     employees a lot of money.     You know, I don't recall           12:20

21     the exact amounts.    But people have made a lot more            12:20

22     money than that as part of Google, including myself.             12:20

23             I think the terminology of "bonus" is a                  12:20

24     little bit strange, because we were working -- this is           12:20

25     an early version of a program to offer people                    12:20

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1      start-up-like compensation.       So, I think that was sort             12:21

2      of working as intended.                                                 12:21

3          Q     All right.                                                    12:21

4                Setting aside the time that Google went                       12:21

5      public, and when people received whatever they                          12:21

6      received, setting that aside, was there any other                       12:21

7      occasion where any employee received more than                          12:21

8      $100 million for what you described as "start-up-like                   12:21

9      compensation"?                                                          12:21

10         A     I mean, I don't recall exactly.            I'm sure           12:21

11     there is someone who can answer that question                           12:21

12     accurately.                                                             12:21

13         Q     Okay.                                                         12:21

14         A     But again, this was one of our early programs                 12:21

15     like that.    So, it wouldn't surprise me if this was                   12:21

16     one of the earlier ones that we had done.                               12:21

17         Q     Sitting here today, can you recall of any                     12:21

18     other employee who received more than $100 million in                   12:21

19     what you've described as start-up compensation at                       12:21

20     Google?                                                                 12:21

21         A     Well, I've already stated this is one of our                  12:21

22     earlier programs.      So no, I can't think of one.             But     12:21

23     nor do I think that's, like, so unusual, as you're --                   12:22

24     as you're implying.                                                     12:22

25         Q     You're saying it's not unusual to pay                         12:22

                                                                             Page 24

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1      somebody a bonus of over $100 million?                       12:22

2          A      I don't -- I don't think characterizing it as     12:22

3      a bonus is correct.     I think it's more like a start-up    12:22

4      compensation, which would be more like equity.        We     12:22

5      have executives that are well compensated and                12:22

6      certainly make a lot of money and so on.                     12:22

7                 So anyway, I don't think that it's so far         12:22

8      outside of the norm for Silicon Valley compensation.         12:22

9          Q      Can you tell me what, in your mind, did           12:22

10     Anthony Levandowski contribute to Project Chauffeur?         12:22

11         A      I mean, again, I'm, you know, CEO of the          12:22

12     parent company of the company there, so I think I have       12:22

13     limited ability to answer that question.                     12:22

14                My impression of Anthony is that he was, you      12:22

15     know, an early pioneer in the self-driving space, and        12:23

16     was pretty interested in a lot of the technology             12:23

17     aspects.                                                     12:23

18                His specialty seemed to be -- he certainly        12:23

19     had a lot of knowledge of LiDAR, but I'm not -- and          12:23

20     hardware in general, maybe, but I'm not really expert        12:23

21     on those points.                                             12:23

22         Q      When he worked at Google, you had a number of     12:23

23     conversations yourself with Mr. Levandowski over the         12:23

24     years; correct?                                              12:23

25         A      Yeah, I mean, I've certainly talked with him      12:23

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1      from time to time, usually with other people, I think.       12:23

2          Q    There were times when he visited your home;         12:23

3      is that right?                                               12:23

4          A    I don't recall that, but I'm -- it's                12:23

5      possible.                                                    12:23

6          Q    Do you also have a ranch property?                  12:23

7          A    Yes.                                                12:23

8          Q    What is it called?                                  12:23

9          A    I'm not sure which one you mean or -- or --         12:24

10     so maybe you can give me more context.                       12:24

11         Q    Is there one called               ?                 12:24

12         A    No.                                                 12:24

13         Q    What are your ranches called?                       12:24

14         A             is a project that I believe Anthony        12:24

15     was working on.   I don't think that's the name of a         12:24

16     ranch.                                                       12:24

17         Q    What are your ranches called?                       12:24

18         A    I mean, there's one maybe they're referring         12:24

19     to where some testing has happened.                          12:24

20              Is that what you're talking about?                  12:24

21         Q    Yes.                                                12:24

22         A    What is the context here?                           12:24

23         Q    I just want to know what it's called, so we         12:24

24     at least are communicating about the same location.          12:24

25         A    Well, maybe you can tell me which location          12:24

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1      you're talking about.                                                    12:24

2          Q      It's -- it's your ranch where the testing                     12:24

3      took place.                                                              12:24

4          A      Well, that's called                        .                  12:24

5          Q                                                                    12:24

6          A      But I don't know which --                                     12:24

7          Q      All right.                                                    12:24

8          A      -- name you would have.                                       12:24

9          Q      Has Anthony been to your property at

                                                                                12:24

11         A      I assume so, but I'm not, I guess, familiar                   12:24

12     with all of his whereabouts.                                             12:25

13         Q      Just generally, where is                                      12:25

14     located?                                                                 12:25

15         A      It's




                                                                 , it seems     12:25

21     like, but -- okay.      All right.     So --                             12:25

22                MR. VAN NEST:   It depends on the time of day,                12:25

23     Counsel.                                                                 12:25

24                MR. GONZALEZ:   Q.    So, do you recall that you              12:25

25     would brainstorm with Anthony Levandowski about ideas                    12:25

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1     that you'd come up with, including                  ?        12:25

2         A   I mean, I don't recall that, but I know he           12:25

3     was involved in that later.                                  12:25

4         Q   When you say "he was involved in that later,"        12:25

5     what do you mean by "later"?                                 12:25

6         A   Well, I mean, after the initial                      12:25

7     brainstorming.                                               12:25

8




                                                                   12:26

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                                                                    12:28

12         Q   And I appreciate that, and it can be                 12:28

13     designated attorneys' eyes only.                             12:28

14             I'm just trying to make the point that you're        12:28

15     working on




                                                                    12:28

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                                                                       12:29

8          Q   I -- I appreciate that.        And again, this can      12:29

9      be designated attorneys' eyes only.         It's not going to   12:29

10     be released publicly, but -- and -- and I actually              12:29

11     think some of it may already be public.                         12:29

12




                                                                       12:29

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                                                                    12:32

25             And you asked another question as well.              12:32

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                                                                    12:33

15         Q   And what was he doing before?                        12:33

16         A   He was CEO of Udacity.                               12:33

17




                                                                    12:34

25             MR. GONZALEZ:    Q.   Did somebody approve of        12:34

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                                                                    12:37

14         Q   Aren't you currently testing autonomous              12:37

15     vehicles in Phoenix?                                         12:37

16         A   I believe so, yes.                                   12:37

17         Q   And picking up passengers and taking them            12:37

18     from point A to point B in autonomous vehicles?              12:37

19         A   We have a

                              , yeah.                               12:37

21         Q   And, when did Google decide for the first            12:37

22     time to explore the possibility of doing that?               12:37

23         A   Of doing that exact thing?                           12:37

24         Q   No.   Just                                  .        12:37

25         A   I don't -- I don't know.                             12:37

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1             Q   Google invested in Uber; correct?                         12:38

2             A   Yes.                                                      12:38

3             Q   Do you recall when?                                       12:38

4             A   My answer is yes.                                         12:38

5             Q   Do you recall when?                                       12:38

6             A   No, I don't remember when we did that.                    12:38

7             Q   And how much did Google invest in Uber?                   12:38

8             A   It was a pretty substantial sum.              I mean,     12:38

9      it's                      .                                          12:38

10            Q   Do you remember                           ?               12:38

11            A   I'm trying to remember.      No, I don't remember         12:38

12                         .   A small number, I think.                     12:38

13            Q   Do you recall that Uber appointed David                   12:38

14     Drummond to its Board of Directors when you made your                12:38

15     investment?                                                          12:38

16            A   I think David was on -- on the board, yes.                12:38

17            Q   He was not on the board?                                  12:38

18            A   I said David was on the board, yeah.                      12:38

19            Q   And, do you recall that he was on the board               12:38

20     at the time that Google made its investment?                         12:38

21            A   I don't recall that.                                      12:39

22            Q   Was due diligence done by Google before that              12:39

23     investment?                                                          12:39

24            A   I have no knowledge of that, but I've never               12:39

25     heard of a case where we did not do that.                            12:39

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1          Q   It's pretty standard to do due diligence             12:39

2      before you go and make a significant investment; fair?       12:39

3          A   Yeah.   It was done through Google Ventures.         12:39

4      That's a little bit different than a corporate               12:39

5      investment, but yeah.                                        12:39

6          Q   Different in what way?                               12:39

7          A   If you're going to buy a company or                  12:39

8      something, you would do more thorough diligence.             12:39

9          Q   When you say "more thorough diligence," what         12:39

10     do you mean by that?                                         12:39

11         A   I don't know.                                        12:39

12         Q   During the time that you've been president or        12:39

13     CEO of Google, Google has made a number of                   12:39

14     acquisitions; correct?                                       12:39

15         A   Yes.                                                 12:39

16         Q   And, before you make acquisitions, it's              12:39

17     standard to do due diligence; correct?                       12:39

18         A   Yes.                                                 12:40

19         Q   And one thing that sometimes happens is, you         12:40

20     include indemnification provisions when you acquire          12:40

21     companies; correct?                                          12:40

22         A   I'm not familiar with that, but...                   12:40

23         Q   Isn't it true that, from time to time, when          12:40

24     Google acquires companies, you agree with the company        12:40

25     that you're purchasing that if they get sued, you will       12:40

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1      defend them?                                                 12:40

2              MR. VAN NEST:    Object to form.                     12:40

3              THE WITNESS:    I'm not familiar with all of         12:40

4      the agreements that we make.                                 12:40

5              MR. GONZALEZ:    Q.   Are you familiar generally     12:40

6      with that type of provision, where you buy a company,        12:40

7      and you agree that if they get sued, you will defend         12:40

8      them?                                                        12:40

9              MR. VAN NEST:    Object to form.                     12:40

10             THE WITNESS:    Yeah, I'm not that familiar          12:40

11     with those things.                                           12:40

12             MR. GONZALEZ:    Q.   Do you recall the time         12:40

13     period that Mr. Drummond sat on Uber's board?                12:40

14         A   No.    I assume that's public record, though.        12:40

15         Q   Isn't it true that, when Mr. Drummond sat on         12:40

16     Uber's board, Google was making plans to compete with        12:40

17     Uber?                                                        12:41

18             MR. VAN NEST:    Object to form.                     12:41

19             THE WITNESS:    I mean, I kind of saw it as the      12:41

20     other way around.    Like, when we invested in Uber,         12:41

21     they knew well that we were doing self-driving cars,         12:41

22     and they decided to do that, so...                           12:41

23             MR. GONZALEZ:    Q.   What makes you believe         12:41

24     that Uber knew, when you invested in Uber, that Google       12:41

25     was doing self-driving cars?                                 12:41

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1          A    Because it was public information at the time           12:41

2      for a long time.                                                 12:41

3          Q    For how long had that been public information           12:41

4      at the time that Google invested in Uber?                        12:41

5          A    I don't know, but for a while; a long time, I           12:41

6      think.                                                           12:41

7          Q    Why did Mr. Drummond step down from the Uber            12:41

8      board?                                                           12:41

9          A    Well --                                                 12:41

10              MR. VAN NEST:    Object to form of the                  12:41

11     question.                                                        12:41

12              You may answer it.                                      12:41

13              THE WITNESS:    Yeah, I'm not sure what                 12:41

14     happened.   He left the board.      I think, you know,           12:41

15     obviously, there was more and more conflict there.               12:41

16              MR. GONZALEZ:    Q.   Did you ever talk to              12:42

17     Mr. Drummond about whether or not he should continue             12:42

18     to serve on the Uber board?                                      12:42

19              MR. VAN NEST:    I'm going to object.      That         12:42

20     probably calls for privileged information.                       12:42

21              Don't disclose the content.        He's just asking     12:42

22     you whether you had a discussion, yes or no.                     12:42

23              THE WITNESS:    I mean, I remember being                12:42

24     informed that he was going to step down, and I                   12:42

25     certainly didn't object to that.                                 12:42

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1              MR. GONZALEZ:     Q.   Informed by who?                  12:42

2          A   I don't recall.                                          12:42

3          Q   You say you didn't object.                               12:42

4              Did anybody tell you why he was stepping                 12:42

5      down?                                                            12:42

6          A   Well, I mean, I already testified I think the            12:42

7      conflict was clearly increasing.        So, my recollection      12:42

8      of that was just there was more conflict and --                  12:42

9          Q   What was the conflict that was increasing?               12:42

10         A   I think it was clear that Uber was investing             12:42

11     heavily in self-driving technology, which we'd been              12:42

12     doing for a while already, and there was a lot of                12:42

13     conflict there.                                                  12:42

14         Q   When did you learn, for the first time, that             12:43

15     Anthony Levandowski was leaving Google?                          12:43

16         A   I mean, the first that I became aware of it              12:43

17     was when I got the e-mail from him.         Even then, I was     12:43

18     a bit surprised.                                                 12:43

19         Q   Did you talk to him about it?                            12:43

20         A   I don't recall talking to him about it once              12:43

21     I'd gotten that e-mail, no.                                      12:43

22         Q   Did you make any effort to retain him?                   12:43

23         A   Yeah, I delegated that.                                  12:43

24         Q   To who?                                                  12:43

25         A   I don't remember exactly, but I'm assuming,              12:43

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1      like, John, the CEO of Waymo.                                      12:43

2          Q    That would be Krafcik?                                    12:43

3          A    Krafcik.                                                  12:43

4          Q    Did Mr. Krafcik ever report to you on what he             12:43

5      did to follow up on your delegation?                               12:44

6          A    I mean, I think definitely he did, yeah.          But     12:44

7      I think -- anyway, my -- my recollection is that, you              12:44

8      know, he had -- he had left basically that day, the                12:44

9      next day.                                                          12:44

10         Q    Do you recall that a year or so before                    12:44

11     Mr. Levandowski left, he announced that he was going               12:44

12     to leave?                                                          12:44

13         A    I mean, I wish I had a penny for every time               12:44

14     employees do that and don't go.        It happens pretty           12:44

15     often.                                                             12:44

16         Q    Do you recall that Mr. Levandowski had                    12:44

17     announced that he was leaving about a year before he               12:44

18     actually left?                                                     12:44

19         A    No, sorry, I don't recall that.                           12:44

20         Q    Do you recall that there was conflict between             12:44

21     Anthony and Chris Urmson?                                          12:44

22         A    Yes.                                                      12:44

23         Q    What do you recall about that conflict?                   12:45

24         A    I mean, it was pretty bad.                                12:45

25         Q    Can you elaborate on what you mean by that?               12:45

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1          A   I think they had a really hard time getting          12:45

2      along, and yet they worked together for a long time.         12:45

3      And it was a constant -- yeah, constant management           12:45

4      headache to help them get through that.                      12:45

5          Q   Do you recall that Anthony Levandowski was           12:45

6      put on a personal improvement plan before he left?           12:45

7          A   I don't recall that.                                 12:45

8          Q   Do you recall that Mr. Levandowski wanted to         12:45

9      be head of the Project Chauffeur team?                       12:45

10         A   I mean, that does not surprise me.                   12:45

11         Q   Do you recall having conversations with him,         12:45

12     where he said to you that he wanted to be head of the        12:45

13     team?                                                        12:45

14         A   I don't recall, but it wouldn't be                   12:45

15     surprising, you know.    I think he clearly felt things      12:45

16     could be done better.                                        12:45

17         Q   Is there anybody who worked on Project               12:46

18     Chauffeur that you believe contributed more to that          12:46

19     project than Anthony Levandowski?                            12:46

20             MR. VAN NEST:    Objection; form; asked and          12:46

21     answered.                                                    12:46

22             THE WITNESS:    Yeah, I mean, positively or          12:46

23     negatively?                                                  12:46

24             MR. GONZALEZ:    In a positive way.                  12:46

25         Q   Did anybody contribute more in a positive way        12:46

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1      to Project Chauffeur, in your view, than Anthony             12:46

2      Levandowski?                                                 12:46

3          A   I --                                                 12:46

4              MR. VAN NEST:    Object to form.                     12:46

5              THE WITNESS:    All right.      I'm not sure.        12:46

6              I mean, Chris -- Chris, for example, like,           12:46

7      was CEO of the project for a long time, and I think          12:46

8      had various significant contributions as the leader.         12:46

9      There's many technical contributors.                         12:46

10             I'm not an expert on that question.                  12:46

11             MR. GONZALEZ:    Q.   Do you think that              12:46

12     Mr. Urmson, Chris Urmson, contributed more than              12:46

13     Anthony to Project Chauffeur?                                12:46

14         A   I mean, I've already stated I believe                12:46

15     Anthony's contributions are quite possibly negative of       12:47

16     a high amount, so --                                         12:47

17         Q   What -- what do you mean by that?                    12:47

18             Are you saying that Anthony Levandowski's            12:47

19     contribution to Project Chauffeur was negative?              12:47

20         A   That's quite likely, I think.                        12:47

21         Q   And yet the company paid him $120 million for        12:47

22     his negative contribution?                                   12:47

23         A   No, absolutely not.      I think, you know, not      12:47

24     all compensation you make in a start-up is based on          12:47

25     contribution.   I think it's based on when we put that       12:47

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1      plan in place, we caused a very good outcome.            It, you   12:47

2      know, more or less revolutionized an industry.                     12:47

3          Q      So what -- I'm sorry.      I didn't mean to cut         12:47

4      you off.     Were you --                                           12:47

5          A      So, I think that plan -- you have to think              12:47

6      about the plan when it was put in place, not when it               12:47

7      was awarded.                                                       12:47

8          Q      What leads you to believe that Anthony                  12:47

9      Levandowski's contribution to Project Chauffeur was                12:47

10     negative?                                                          12:47

11         A      Well, I mean, I think it's quite possible               12:47

12     that he did things that are very bad.            I think he very   12:47

13     negatively affected morale probably as a result, and               12:48

14     many other things.     But I think that's more clear now           12:48

15     than it was then.                                                  12:48

16         Q      What about his -- aside from morale of the              12:48

17     employees, what about his contributions just to the                12:48

18     autonomous vehicle that you were trying to develop?                12:48

19                Do you think his contributions to the                   12:48

20     autonomous vehicle were positive or negative?                      12:48

21         A      You know, again, I'm not an expert on that.             12:48

22     And I imagine it depends on your perspective.                      12:48

23         Q      What is your perspective?                               12:48

24         A      I already told you my perspective.         I'm not      12:48

25     sure.   I think it could be significantly negative.                12:48

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1                Now, to be -- he also obviously has done                12:48

2      technical work in other things, too.           And I'm not an     12:48

3      expert on that.                                                   12:48

4          Q     When did you learn for the first time that              12:48

5      Mr. Levandowski may have taken Google information with            12:48

6      him when he left?                                                 12:49

7          A     I'm not sure of the exact time I learned                12:49

8      that.                                                             12:49

9          Q     Do you recall generally?                                12:49

10         A     I mean, I'm -- if you give me some context,             12:49

11     I'm sure I can figure that out.                                   12:49

12         Q     Well, he left in January of 2016.          I'm not      12:49

13     sure --                                                           12:49

14         A     Okay.   I wasn't aware of that when he left,            12:49

15     if that's your question.                                          12:49

16         Q     At what point did you become aware that he              12:49

17     may have taken information that you believe belonged              12:49

18     to Google?                                                        12:49

19               MR. VAN NEST:    I want to caution you,                 12:49

20     Mr. Page, not to disclose privileged communications.              12:49

21     Don't talk about anything you learned from a lawyer.              12:49

22               He's just asking about timing now.          That's      12:49

23     all he wants to know, if you can recall.                          12:49

24               THE WITNESS:    Yeah, I don't recall.                   12:49

25               MR. GONZALEZ:    Q.   You don't recall even             12:49

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1      generally the date?                                          12:49

2          A   No.                                                  12:49

3          Q   Or how you found out?                                12:49

4          A   I don't recall.                                      12:49

5              But, I think it would be very unusual for            12:49

6      that not to happen through a privileged exchange of          12:49

7      some sort.                                                   12:49

8          Q   Okay.     But, sitting here today, you don't         12:50

9      recall the moment when you learned that                      12:50

10     Mr. Levandowski may have taken information from              12:50

11     Google; is that right?                                       12:50

12         A   Yeah, I don't remember when that happened.           12:50

13         Q   Or how?                                              12:50

14         A   I think I was informed of it somehow by a            12:50

15     person, but I don't -- I don't remember how.                 12:50

16         Q   All right.                                           12:50

17             Do you remember who the person was?                  12:50

18         A   No, I don't remember.                                12:50

19         Q   What was it that you understood                      12:50

20     Mr. Levandowski took?                                        12:50

21             MR. VAN NEST:     Well, I'll -- I'll object.         12:50

22             Don't disclose the content of any privileged         12:50

23     discussion with a lawyer.     If you learned that from       12:50

24     someone other than a lawyer, you can testify about it.       12:50

25     But otherwise --                                             12:50

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1              THE WITNESS:    Yeah, I don't remember.       It was     12:50

2      hard to miss some of the headlines, though.         But I        12:50

3      don't know how I learned that, though.                           12:50

4              MR. GONZALEZ:     All right.                             12:50

5          Q   You've made it clear you don't recall how you            12:50

6      learned it.                                                      12:50

7              My question is:        When you learned that he          12:50

8      took something, allegedly, what is it that you                   12:50

9      understood that he took?                                         12:51

10         A   I don't --                                               12:51

11             MR. VAN NEST:     Again, Mr. Page, I'm going             12:51

12     to -- if that information was provided to you by a               12:51

13     lawyer, then I'm instructing you not to answer.                  12:51

14             THE WITNESS:    Okay.                                    12:51

15             Yeah, I don't recall.                                    12:51

16             MR. GONZALEZ:     Q.     So, sitting here today,         12:51

17     you don't remember when you learned, what you learned,           12:51

18     or from who you learned what Mr. Levandowski allegedly           12:51

19     took from Google; is that right?                                 12:51

20         A   That's correct.                                          12:51

21         Q   Were you concerned when you learned that                 12:51

22     Mr. Levandowski may have taken Google information?               12:51

23         A   Of course.                                               12:51

24         Q   Did you ever consider just calling                       12:51

25     Mr. Levandowski and asking him whether he took                   12:51

                                                                      Page 50

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1      anything from Google?                                            12:51

2          A   No, I did not consider that.                             12:51

3          Q   You -- you had his personal cell phone                   12:51

4      number; right?                                                   12:51

5          A   I don't -- I don't think so.                             12:51

6          Q   You don't remember calling Mr. Levandowski on            12:51

7      his personal cell phone?                                         12:51

8          A   No.   It's possible, though.        I don't remember     12:52

9      everyone that I call.                                            12:52

10         Q   When did you first learn that Mr. Levandowski            12:52

11     may have solicited people from Google or Waymo?                  12:52

12             MR. VAN NEST:    Again, Mr. Page, caution as to          12:52

13     the content of any discussion with lawyers.                      12:52

14             You can answer as to time, if you can recall.            12:52

15             THE WITNESS:    Yeah, I can't -- I don't recall          12:52

16     that.                                                            12:52

17             MR. GONZALEZ:    Q.   Do you recall how you              12:52

18     found out that Mr. Levandowski may have solicited                12:52

19     Waymo or Google employees?                                       12:52

20         A   No, I don't recall.      I think there are               12:52

21     probably some e-mails, but I don't recall them.                  12:52

22         Q   Do you recall of any employee that                       12:52

23     Mr. Levandowski allegedly solicited?                             12:52

24         A   No.                                                      12:53

25         Q   When did you first learn that Uber had                   12:53

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1      allegedly done something wrong in connection with               12:53

2      Google or Waymo?                                                12:53

3          A    I don't recall.                                        12:53

4          Q    Do you recall how it came to your attention?           12:53

5          A    No, I don't recall.                                    12:53

6          Q    Sitting here today, what is it that you                12:53

7      understand Uber did that led to them being sued by              12:53

8      Waymo?                                                          12:53

9               MR. VAN NEST:     Again, Mr. Page, don't divulge       12:53

10     the content of any discussion with lawyers.                     12:53

11              If you have information for counsel outside            12:53

12     of that, please provide it.                                     12:53

13              THE WITNESS:    I mean, I can read the                 12:53

14     progress, I guess, of the court case.          Obviously,       12:53

15     there's trade secret, and there's also a poaching that          12:53

16     went on that's subject to the arbitration.          There's     12:53

17     trade secret and a set of e-mails and so on.                    12:53

18              MR. GONZALEZ:     Q.   Do you understand that          12:54

19     Waymo sued Uber for infringing on patents?                      12:54

20         A    I'm aware that's part of the lawsuit.                  12:54

21         Q    Are you aware of the fact that Waymo has               12:54

22     dismissed three of the four patents?                            12:54

23         A    I mean, I've read that in the press, yes.              12:54

24         Q    What is the patent that is left in the case,           12:54

25     as you understand it?                                           12:54

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1          A    I have no idea.                                     12:54

2          Q    What does the patent cover?                         12:54

3          A    I'm not familiar with those details.                12:54

4          Q    What is the most significant trade secret           12:54

5      that you believe Uber has misappropriated from Waymo         12:54

6      or Google?                                                   12:54

7               MR. VAN NEST:     And again, Mr. Page, if this      12:54

8      information was provided in a discussion with one of         12:54

9      your lawyers, I instruct you not to answer it.               12:54

10              You may answer outside of that.                     12:55

11              THE WITNESS:    Yeah, I'm not -- I'm not sure.      12:55

12              MR. GONZALEZ:     Q.   You're not familiar with     12:55

13     the details of the trade secrets that are at issue           12:55

14     here?                                                        12:55

15         A    Yes.                                                12:55

16         Q    You don't know, for example, what the trade         12:55

17     secrets are that Uber allegedly misappropriated?             12:55

18         A    No, I do not.                                       12:55

19         Q    Whenever it was that you learned -- let me          12:55

20     make sure I'm clear on this.                                 12:55

21              You don't remember, sitting here today, when        12:55

22     you learned or how you learned that Uber may have            12:55

23     misappropriated Google or Waymo trade secrets; is that       12:55

24     right?                                                       12:55

25         A    That's correct.                                     12:55

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1             Q   And you don't remember how you learned?                  12:55

2             A   I mean, that's correct, yes.                             12:55

3             Q   Whenever you learned that Uber may have                  12:55

4      done -- well, strike that.                                          12:55

5                 Did you authorize the filing of the lawsuit              12:55

6      against Uber?                                                       12:55

7             A   I mean, I'm certainly aware of it, yeah, and             12:55

8      then allowed it to proceed, I suppose.            I'm not sure I    12:56

9      authorized it.     I'm not sure that's the right word.              12:56

10            Q   Well, could a lawsuit of this magnitude be               12:56

11     filed without your consent and approval?                            12:56

12            A   I mean, I guess I'm not -- I'm the CEO of the            12:56

13     company -- parent company of Waymo, and Waymo operates              12:56

14     more or less as an independent company.                             12:56

15            Q   Can Way- -- is Waymo authorized to file a                12:56

16     lawsuit like this on its own without even consulting                12:56

17     you?                                                                12:56

18            A   I mean, I don't know all the details of that.            12:56

19            Q   Well, you're the boss.                                   12:56

20                What -- what is your state of mind?                      12:56

21                Do you believe that Waymo is authorized to               12:56

22     file a lawsuit like this without giving you notice?                 12:56

23                MR. VAN NEST:    Object to form.                         12:56

24                THE WITNESS:    I mean --                                12:56

25                MR. GONZALEZ:    I'll restate it.          Let me --     12:56

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1      let me restate it, sir.                                      12:56

2          Q   Do you believe that Waymo is authorized to           12:56

3      file a lawsuit like this without giving you notice?          12:56

4              MR. VAN NEST:     Object to form.                    12:56

5              THE WITNESS:    I mean, I've already testified       12:56

6      that I was notified.                                         12:56

7              MR. GONZALEZ:     You were notified, but my          12:56

8      question is slightly different.                              12:57

9          Q   Do you believe that Waymo could authorize the        12:57

10     filing of this lawsuit without notifying you?                12:57

11         A   I mean, I don't know the answer to that.             12:57

12         Q   When you learned that a lawsuit was going to         12:57

13     be filed against Uber, did you consider




                                                                    12:57

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1

                                                                    12:57

3              MR. VAN NEST:    Again, Mr. Page, I want to          12:57

4      caution you not to disclose the content of the               12:57

5      discussions with lawyers.                                    12:57

6              THE WITNESS:    Yeah.     Then I guess my            12:58

7      recollection is a little hazy with regards to the            12:58

8      different things.    There's an arbitration and there's      12:58

9      a lawsuit and so on.                                         12:58

10             MR. GONZALEZ:    Right.                              12:58

11         Q   So, I'm focusing on the lawsuit against Uber.        12:58

12         A   Well, the -- yeah, I don't even know...              12:58

13             MR. VAN NEST:    Again -- again, don't disclose      12:58

14     the content of an attorney discussion.                       12:58

15             THE WITNESS:    Okay.                                12:58

16             MR. GONZALEZ:    It sounds like you may not          12:58

17     remember such a discussion.                                  12:58

18         Q   And so I'm just trying to find out --                12:58

19             MR. VAN NEST:    You -- you can answer a             12:58

20     question about your memory, if that's what counsel           12:58

21     wants to ask.                                                12:58

22             MR. GONZALEZ:    Q.     Do you recall



                                                           ?        12:58

25         A   Look, I don't -- like, I don't recollect             12:58

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1      the -- you know, exactly what happened.




                                                                    12:59

8              MR. VAN NEST:    Just answer as to your              12:59

9      recollection, not what was said or not said, please.         12:59

10             THE WITNESS:    Yeah, I don't recall that.           12:59

11             MR. GONZALEZ:    Q.   When did Google start          12:59

12     speaking with Lyft about the possibility of having           12:59

13     some kind of a joint venture with them?                      12:59

14         A   I mean, I'm not familiar with the details.           12:59

15     You know, I am not sure when we started talking to           12:59

16     them.                                                        12:59

17         Q   You understand that you now have an agreement        12:59

18     with Lyft; correct?                                          12:59

19         A   Yeah, we have an announced agreement with            12:59

20     Lyft.                                                        12:59

21         Q   And who is the person at Google, Alphabet, or        12:59

22     Waymo, whichever entity it was, who was in charge of         12:59

23     those negotiations or discussions with Lyft?                 12:59

24         A   Mainly, that fell -- produced squarely under         12:59

25     John Krafcik, CEO of Waymo.      I mean, we may have other   12:59

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1      deals with Lyft.    The one you're talking about is with       13:00

2      Waymo, not with Google.                                        13:00

3          Q   And what's the general substance, as you               13:00

4      understand it, of that agreement?                              13:00

5          A   I think the agreement basically provides for           13:00

6      some cooperation between Waymo and Lyft.                       13:00

7          Q   What type of -- I'm sorry -- what type of              13:00

8      cooperation?                                                   13:00

9          A



                                                                      13:00

12         Q   How long is the agreement for?                         13:00

13         A   Oh, I don't know.      I don't know.                   13:00

14         Q

                                                                      13:00

16



                                                                      13:00

19             MR. PERLSON:    Let me just note for the record        13:00

20     that there is a pending motion for protective order in         13:00

21     relation to Lyft.    We're not going to cut off                13:00

22     questions now, but there may be further objections in          13:00

23     dealing with what was on the record on that.        But we     13:01

24     can deal with that later.                                      13:01

25             MR. GONZALEZ:     Q.                                   13:01

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1                                                                    13:01

2                MR. VAN NEST:    Object to form.                    13:01

3                THE WITNESS:    Again, I'm not, like, expert on     13:01

4      that.



                                                                     13:01

7                MR. GONZALEZ:    Q.




                                                                     13:01

13           Q   Can you think of any other component?               13:01

14           A   I mean, there's many other things you could         13:01

15     do.




                                                                     13:02

23               Is that what you meant?                             13:02

24               MR. VAN NEST:    Object to form.                    13:02

25               THE WITNESS:    Yeah, I'm not sure what you         13:02

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1      mean by that, but...                                           13:02

2              MR. GONZALEZ:    Q.   I was just trying to             13:02

3      understand what you meant when you said

                                                                      13:02

5          A   All right.                                             13:02

6              So the question?                                       13:02

7          Q   What did you mean by that?                             13:02

8          A   Yeah, like,




                                                                      13:02

12             MR. VAN NEST:    Object to form.                       13:02

13             THE WITNESS:    Yeah, I'm not sure exactly what        13:02

14     we do in that case.                                            13:02

15             MR. GONZALEZ:    Q.   Did you play any role in         13:02

16     the discussions with Lyft?                                     13:03

17         A   I mean, I was aware of them.          I'm not sure     13:03

18     what feedback I gave, if any.                                  13:03

19         Q   How were you aware of them?                            13:03

20         A   I periodically speak with John Krafcik, who            13:03

21     runs Waymo.                                                    13:03

22         Q   Do you remember how many times you spoke to            13:03

23     him about the Lyft agreement?                                  13:03

24         A   I do not.                                              13:03

25         Q   Let me ask you a couple of questions about             13:03

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1      side businesses.                                               13:03

2                 You understand that there are a number of           13:03

3      Google employees who have side businesses while                13:03

4      they're employed by Google; correct?                           13:03

5          A      I mean, I'm not -- I don't, like, get a             13:03

6      report on that or anything, but --                             13:04

7          Q      But just generally, you're aware of the fact        13:04

8      that many of your colleagues at Google also have side          13:04

9      businesses; correct?                                           13:04

10                MR. VAN NEST:    Object to form.                    13:04

11                THE WITNESS:    I mean, I think that's pretty       13:04

12     unusual.                                                       13:04

13                MR. GONZALEZ:    Q.     What is unusual?            13:04

14         A      I mean, side businesses are fairly unusual.         13:04

15     I don't -- I mean, you're saying many of my                    13:04

16     colleagues.     I don't -- I object to that, I guess.          13:04

17         Q      Are you aware that some of your colleagues at       13:04

18     Google have side businesses?                                   13:04

19                MR. VAN NEST:    Object to form.                    13:04

20                THE WITNESS:    I mean, I'm not sure which ones     13:04

21     you mean.     Colleagues -- you mean some employees at         13:04

22     Google?                                                        13:04

23                MR. GONZALEZ:    Yes.                               13:04

24                THE WITNESS:    I mean...                           13:04

25                MR. GONZALEZ:    Q.     Can you think of any        13:04

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1      invest in other companies that are working on                13:06

2      self-driving vehicles?                                       13:06

3          A   I don't know the answer to that.                     13:06

4          Q   You understand that Mr. Levandowski, while he        13:06

5      worked at Google, had side businesses, one called            13:06

6      Anthony's Robots and one called 510 Systems; correct?        13:06

7          A   I mean, I was aware that we bought some              13:06

8      companies from Anthony in the early days.                    13:06

9          Q   Did you understand that those companies were         13:06

10     involved with autonomous driving?                            13:06

11         A   I don't remember what the companies were             13:06

12     involved in.                                                 13:06

13         Q   You don't remember anything about what the           13:06

14     companies did?                                               13:06

15         A   No.     I mean, I remember them.       You know,     13:06

16     they're some relation to Anthony, and he had some            13:06

17     companies.     And he generally worked on self-driving,      13:06

18     but I don't know the details of that.                        13:06

19         Q   Did you agree with the decision to buy the           13:07

20     companies?                                                   13:07

21         A   I mean, that was a long time ago.           I        13:07

22     certainly think I was somewhat involved in that and,         13:07

23     you know, approved it or whatever.                           13:07

24         Q   Do you have any recollection as to what the          13:07

25     purchase price was?                                          13:07

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1          A    No, I don't remember the purchase price.            13:07

2          Q    Did you have any concern, at the time, that         13:07

3      Mr. Levandowski had these side businesses while he was       13:07

4      an employee of Google?                                       13:07

5          A    I mean, my recollection was more that we            13:07

6      purchased something early on from him.                       13:07

7          Q    Did you have any concern, at the time that          13:07

8      you made the purchase, that Mr. Levandowski had these        13:07

9      side businesses while he was an employee of Google?          13:07

10         A    I mean, I remember there being a discussion         13:07

11     about buying the companies, and then that was                13:07

12     resolved.     But I don't -- I don't recall other things     13:07

13     about that.                                                  13:07

14              (Document marked Exhibit 1087                       13:08

15                 for identification.)                             13:08

16              MR. GONZALEZ:    Let me show you a document         13:08

17     that we've marked as Exhibit 1087.                           13:08

18              MR. VAN NEST:    Thank you.                         13:08

19              MR. GONZALEZ:    This is a multipage document,      13:08

20     with Bates Nos. WAYMO '26147 through '26167.        It's     13:08

21     dated May of 2011, entitled:                                 13:08

22              "Project Chauffeur."                                13:08

23         Q    Sir, I'm not going to ask you to review the         13:08

24     entire document, but I just want to ask you -- go            13:08

25     ahead.   Continue flipping through it.                       13:08

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1              Are you generally familiar with this                         13:08

2      document?                                                            13:08

3          A   I mean, I don't recall having seen this                      13:08

4      document.                                                            13:08

5          Q   If you'll look at the page '26164.             It's          13:09

6      Exhibit A.     I think you're very close to it.                      13:09

7          A   Oh, towards the back, you're saying?                         13:09

8          Q   Yes.     It's Exhibit A, '26164.                             13:09

9              Do you see the numbers on the bottom right                   13:09

10     where your hand is, the numbers?                                     13:09

11         A   Yep.                                                         13:09

12         Q   There you go.                                                13:09

13         A   (Witness complies.)                                          13:09

14             Okay.                                                        13:09

15         Q   Do you recall that




                                                           I don't know     13:09

21     that I was aware of it then.                                         13:09

22         Q



                                                                            13:09

25             MR. VAN NEST:     Object to form.                            13:09

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1                THE WITNESS:    Yeah, I don't -- I don't           13:09

2      recall.                                                      13:10

3                MR. GONZALEZ:    Q.     Do you recall




                                                                    13:10

10         A     I mean, certainly -- I'm sure we know the          13:10

11     answers to this, so, I mean, I don't --                      13:10

12               MR. VAN NEST:    Wait -- wait for --               13:10

13               THE WITNESS:    -- I'm not an expert.              13:10

14               MR. VAN NEST:    -- wait for his question,         13:10

15     Mr. Page.                                                    13:10

16               THE WITNESS:    Yeah.                              13:10

17               MR. GONZALEZ:    Q.     Do you recall




                                 My question is somewhat            13:10

25     different.                                                   13:10

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1             A   I know.   I don't know.                                  13:10

2             Q   Let me try it again, and then you can give               13:10

3      that answer.                                                        13:10

4                 Do you know




                                                                           13:10

8                 MR. VAN NEST:    Object to form.                         13:10

9                 THE WITNESS:    I don't know.                            13:10

10                But honestly, you know, Anthony had a larger             13:11

11     role in 2011 than he did later.          So his payouts may --      13:11

12     under this plan might have been higher than it                      13:11

13     otherwise would have been, which happens in start-ups,              13:11

14     too.                                                                13:11

15                MR. GONZALEZ:    Q.   What do you mean when you          13:11

16     say he "had a larger role in 2011 than he did later"?               13:11

17                What was the larger role that he had in 2011             13:11

18     that you think he didn't have later?                                13:11

19            A   I think he was, like, more in charge of the              13:11

20     project.     Like, I don't remember exactly.          It was a --   13:11

21     I think he had a larger leadership role.                            13:11

22            Q   Was there anything in particular that he did             13:11

23     in his leadership role in 2011 that you believe he                  13:11

24     didn't do in later years?                                           13:11

25            A   I think he probably had greater                          13:11

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1      responsibility at that time.                                 13:11

2          Q    Is there anything in particular that comes to       13:11

3      mind that he had in terms of a responsibility in 2011        13:11

4      that you believe he didn't have later?                       13:11

5          A    I mean, my -- you know, my recollection is          13:11

6      kind of hazy again.    But, you know, at some point --       13:11

7      and I don't know if 2011 -- but, at some point in            13:12

8      time, I think he was, like, more in charge of the            13:12

9      team.                                                        13:12

10         Q    And when you say "more in charge of the             13:12

11     team," is there anything specific that you believe he        13:12

12     was doing in 2011 to be in charge of the team that he        13:12

13     didn't do later?                                             13:12

14         A    He did -- I'm not speaking about what he did.       13:12

15     I'm speaking about his responsibility.                       13:12

16         Q    Is there any particular responsibility that         13:12

17     comes to mind, that he had in 2011, that you believe         13:12

18     he did not have later?                                       13:12

19         A    Well, I've already stated I think he had more       13:12

20     responsibility earlier than he did later, so for more        13:12

21     people or more groups, but I don't remember the detail       13:12

22     of it.                                                       13:12

23         Q    Can you remember any more specifically, than        13:12

24     what you just said, what the additional                      13:12

25     responsibilities were that you believe Mr. Levandowski       13:12

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1      had in 2011, but that you believe he did not have                  13:12

2      later?                                                             13:12

3          A     My understanding in the early days is, he was            13:12

4      responsible for most of the team.         You know, there's        13:12

5      some relationship with Sebastian, too.           He was pretty     13:12

6      expert.     I don't know exactly.     And he, over time, got       13:12

7      more responsibility from more areas.           I don't remember    13:12

8      that exactly.                                                      13:13

9                I think that, over time, he got -- he got                13:13

10     sort of a more limited responsibility with respect to              13:13

11     hardware or -- or LiDAR or so on, and then had a -- as             13:13

12     I already mentioned, a fractious relationship with                 13:13

13     Chris, who was then CEO.                                           13:13

14         Q     Was there anything other than --                         13:13

15         A     I'm not expert on any of that.         There's many      13:13

16     people who understand it better than I do.                         13:13

17         Q     Was there anything, other than the                       13:13

18     relationship with Chris, that you believe led to                   13:13

19     Anthony Levandowski having a lesser role in later                  13:13

20     years?                                                             13:13

21               MR. VAN NEST:    Object to form.                         13:13

22               THE WITNESS:    Yeah, I don't know.        I don't       13:13

23     know how -- what all happened or whatever.            I'm just     13:13

24     telling you, I think there was more responsibility                 13:13

25     early on.                                                          13:13

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1              MR. GONZALEZ:    Q.




                                                                    13:14

20         Q   At some point, did you learn that Anthony            13:14

21     Levandowski was working on self-driving trucks?              13:15

22         A   I mean, at some point I know it became               13:15

23     public, yes.                                                 13:15

24         Q   And, do you recall that he spoke to you about        13:15

25     that concept before he left Google?                          13:15

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1          A     Yeah.                                               13:15

2          Q     And, do you recall that you were not                13:15

3      supportive?                                                   13:15

4          A     Well, no.    I'd say not only was I not             13:15

5      supportive, I felt like he was clearly in competition         13:15

6      with what Google was doing, or Waymo.                         13:15

7          Q     Let me make sure you understood my question.        13:15

8                Before Mr. Levandowski left Google --               13:15

9          A     Yes.                                                13:15

10         Q     -- do you recall that he asked you whether          13:15

11     you wanted to do autonomous trucks at Google?                 13:15

12         A     I don't recall that.                                13:15

13               And I remember him talking about being              13:15

14     interested in trucking --                                     13:15

15         Q     All right.    That --                               13:15

16         A     -- and implying that he could do a start-up         13:15

17     in that area.                                                 13:15

18               And I told him very, very clearly that I            13:15

19     thought that was highly competitive and not a good            13:15

20     idea.                                                         13:16

21         Q     When you say "implying that he could do a           13:16

22     start-up," what are the words that he used, if you can        13:16

23     recall?                                                       13:16

24         A     Like, "I am sick of all these people."     I        13:16

25     mean, I'm paraphrasing.      But, you know, "I'm tired of     13:16

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1      dealing with all these people who don't like me."                    13:16

2               I mean, he's kind of a grumpy person                        13:16

3      sometimes.   And, you know, "Why don't I just go do a                13:16

4      company that does trucking?      And everything will be              13:16

5      fine."                                                               13:16

6               I'm, like, No, that's not fine.            Like, that's     13:16

7      the same thing as what you're doing here.             I mean, you    13:16

8      can do that, but we are not going to be happy.                       13:16

9          Q    I want to make sure that you finish the                     13:16

10     conversation.                                                        13:16

11              Have you now told me everything that you can                13:16

12     recall saying?                                                       13:16

13         A    I don't -- I don't know if that's all I can                 13:16

14     recall, but that's the -- the gist of it, in my mind.                13:16

15         Q    Is there anything else that you can recall?                 13:16

16         A    I now believe he was trying to get me to say                13:16

17     that it would not be competitive if he did trucking,                 13:16

18     because he was already doing it.        That's pretty clear          13:16

19     to me.                                                               13:17

20         Q    When is it that you had this conversation?                  13:17

21         A    Soon before he left.     I don't remember                   13:17

22     exactly when.                                                        13:17

23         Q    Did you ask him whether Google might be                     13:17

24     interested, or did you say to him that Google might be               13:17

25     interested in trucking?                                              13:17

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1          A    Yeah.     I mean, that's basically what I said.      13:17

2      Like -- but I think he was pretty clear he was just           13:17

3      trying to justify something that he'd already decided         13:17

4      to do.                                                        13:17

5          Q    So, what are the words that you recall saying        13:17

6      to him with respect to Google's interest in autonomous        13:17

7      trucking?                                                     13:17

8          A    Well, I think I don't remember my words.       I     13:17

9      just was clear that we are -- we were obviously               13:17

10     interested in that area because it's the same thing,          13:17

11     basically.                                                    13:17

12         Q    So, Mr. Levandowski said something to you            13:17

13     about starting a new company dealing with autonomous          13:17

14     trucks and --                                                 13:17

15         A    No.     He speculated that he might do               13:17

16     something, and I was clearly negative on that.       And      13:17

17     then he sort of dropped it at that.                           13:17

18         Q    Is there anything in writing about this, that        13:17

19     you are aware of?                                             13:18

20         A    I'm not aware of anything in writing, but I'm        13:18

21     not sure it's that relevant.                                  13:18

22         Q    Was anybody else present?                            13:18

23         A    I'm not sure.                                        13:18

24         Q    Did you tell anybody about the conversation?         13:18

25         A    I don't recall.     But, I think it wouldn't         13:18

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1      surprise me if other people were aware of those              13:18

2      general things.                                              13:18

3             Q   At any point, did you tell anybody about the      13:18

4      conversation?                                                13:18

5             A   I mean, I'd be surprised if I didn't, but I       13:18

6      don't recall what I did.                                     13:18

7             Q   When did you learn that, in fact,                 13:18

8      Mr. Levandowski was working on an autonomous trucking        13:18

9      project?                                                     13:18

10            A   I don't recall when I -- when that happened.      13:18

11     I think, you know, I got some e-mail or something, or        13:18

12     read about it in the press or --                             13:18

13            Q   And what was your reaction?                       13:18

14            A   I was pretty angry about it or upset with         13:18

15     him.                                                         13:18

16            Q   Did you say anything to the person who            13:18

17     informed you of that?                                        13:18

18            A   I don't recall.                                   13:18

19            Q   At that moment, when you learned that             13:19

20     Mr. Levandowski was involved with autonomous trucking,       13:19

21     did you consider calling him and talking to him about        13:19

22     it?                                                          13:19

23            A   No, I didn't really consider that.                13:19

24            Q   Did you think it was inappropriate for him to     13:19

25     do that?                                                     13:19

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1             A   I mean, it's, you know, perfectly reasonable             13:19

2      for people to start up other competing companies.             I     13:19

3      think the point he was trying to make to me is that we              13:19

4      should be happy about that, which is our decision, not              13:19

5      his.                                                                13:19

6             Q   So, when you said that you weren't happy --              13:19

7      actually, you said, I was pretty angry about it.                    13:19

8                 Why were you angry?                                      13:19

9             A   Well, I felt like his conversations with me              13:19

10     were disingenuous.                                                  13:19

11            Q   But you didn't think it was inappropriate for            13:19

12     him to start up a competing company; did you?                       13:19

13                MR. VAN NEST:    Object to form;                         13:19

14     "inappropriate."                                                    13:19

15                THE WITNESS:    I don't know all the                     13:19

16     restrictions he might be under or the various                       13:19

17     contracts and so on.       So, that's a very complex                13:19

18     question.                                                           13:19

19                MR. GONZALEZ:    Q.   In your mind, would it             13:19

20     have been inappropriate for him to have conversations               13:20

21     with General Motors, when he was still a Google                     13:20

22     employee, about maybe starting up a trucking company?               13:20

23                MR. VAN NEST:    Objection to form.                      13:20

24                THE WITNESS:    I mean, I'm not a lawyer.      I         13:20

25     don't know what all the issues would be with that,                  13:20

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1      but --                                                           13:20

2                 MR. GONZALEZ:    Q.   Do you have any issues          13:20

3      with that yourself?                                              13:20

4          A      I mean, I think it would be pretty unusual            13:20

5      for an employee to start operating on a new business             13:20

6      while they're working on their current business with             13:20

7      their employer, and that sounds highly unusual.                  13:20

8          Q      And, to be clear, that's not what I'm asking          13:20

9      about, operating any business.                                   13:20

10                I'm asking right now just about                       13:20

11     communications, conversations.                                   13:20

12         A      Well, conversations as Waymo, or                      13:20

13     conversations as Anthony himself?                                13:20

14         Q      As Anthony himself.                                   13:20

15                Let me rephrase the question.                         13:20

16         A      I'm not a lawyer.                                     13:20

17         Q      I just want to know what you believe.      You're     13:20

18     not -- you're not a lawyer, but you're the CEO of the            13:20

19     company.                                                         13:20

20                In your view, as CEO of the company, are              13:20

21     employees allowed to have conversations with third               13:20

22     parties about start-ups that they might want to form?            13:21

23                MR. VAN NEST:    Objection to form.                   13:21

24                THE WITNESS:    If I was asked that question, I       13:21

25     would ask my lawyer, and I'd have them talk to them.             13:21

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1              MR. GONZALEZ:     Q.   You don't have an opinion,     13:21

2      one way or the other, sitting here today, as to               13:21

3      whether your employees can do that?                           13:21

4              MR. VAN NEST:     Object to form.                     13:21

5              THE WITNESS:    So, it sounds to me like a            13:21

6      legal question.                                               13:21

7              MR. GONZALEZ:     Q.   It may also be a business      13:21

8      question; right?                                              13:21

9              So, I'm asking you from the business side.            13:21

10             Is there anything at Google, any policy that          13:21

11     you're aware of, that prevents employees from talking         13:21

12     to third parties about the possibility of doing a             13:21

13     start-up?                                                     13:21

14             MR. VAN NEST:     Objection.     It's vague.          13:21

15             THE WITNESS:    I mean, a start-up, that's, you       13:21

16     know, exactly what you're currently doing, or                 13:21

17     something else, or depending on whether we bought your        13:21

18     company or not, or many other things.                         13:21

19             I don't know.     That's a complicated question,      13:21

20     and I generally would ask my attorney that question to        13:21

21     look at that.                                                 13:21

22             MR. GONZALEZ:     Q.   Are you generally aware of     13:22

23     the policies of Google?                                       13:22

24         A   I mean, there's a lot of policies.                    13:22

25         Q   Understood.                                           13:22

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1              Are you generally aware of the policies at           13:22

2      Google that deal with employees starting up their own        13:22

3      companies?                                                   13:22

4          A   I wouldn't say I'm generally aware of that.          13:22

5      I don't think that comes into practice very often.           13:22

6          Q   Are you aware of any situation where an              13:22

7      employee has wanted to start up a new company, and           13:22

8      Google said to that employee, You can't do it?               13:22

9          A   I mean, those exact quotes?                          13:22

10         Q   Or words to that effect.                             13:22

11         A   I mean, I'm not aware of that.                       13:22

12         Q   So, let me ask you about Anthony.                    13:22

13         A   Yeah.                                                13:22

14         Q   Not a hypothetical, but about -- about               13:22

15     Anthony Levandowski.                                         13:22

16             If, after having this conversation with you          13:22

17     about trucking -- you say it was shortly before he           13:22

18     left.                                                        13:23

19             If that same day Mr. Levandowski had called          13:23

20     General Motors and said, "Hey, I've got an idea about        13:23

21     autonomous trucking.    Maybe we can ship stuff on           13:23

22     trucks without drivers," in your view, would that have       13:23

23     been a violation of some Google policy?                      13:23

24             MR. VAN NEST:    Object to form.                     13:23

25             THE WITNESS:    I don't know.                        13:23

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1              MR. GONZALEZ:     Q.   There isn't any policy in       13:23

2      particular that jumps out at you that says, Oh, no,            13:23

3      you can't do that?                                             13:23

4          A   I mean, I don't know.       I mean, I think it's a     13:23

5      complicated area.                                              13:23

6              MR. VAN NEST:     Counsel, when you get to a           13:23

7      convenient spot, let's --                                      13:23

8              MR. GONZALEZ:     Let's go off the record.             13:23

9              MR. VAN NEST:     -- take a short break.               13:23

10             MR. GONZALEZ:     Let's go off the record.             13:23

11             THE VIDEOGRAPHER:      We are off the record at        13:23

12     1:24 p.m.                                                      13:23

13             (Recess taken.)                                        13:23

14             THE VIDEOGRAPHER:      We are back on the record       13:38

15     at 1:38 p.m.                                                   13:38

16             MR. GONZALEZ:     Q.   Sir, is this litigation         13:38

17     important to you?                                              13:38

18             MR. VAN NEST:     Object to form.                      13:38

19             THE WITNESS:    Yeah, I'm not sure which               13:38

20     litigation you're referring to.        But generally, the      13:38

21     case here -- cases, I suppose.                                 13:38

22             MR. GONZALEZ:     I'm asking you specifically          13:38

23     about the litigation that Waymo has brought against            13:38

24     Uber.                                                          13:38

25         Q   Is that litigation important to you?                   13:38

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1          A   I mean, in some ways, I would say yes; in            13:39

2      some ways, no.                                               13:39

3              I mean, I think however many years we've been        13:39

4      running Google/Alphabet, we've never had to bring a          13:39

5      case like this before, which is, you know, a lot of          13:39

6      years and a lot of employees.                                13:39

7              On the other hand, the scale of our business,        13:39

8      it's not -- you know, we have a very large business.         13:39

9          Q   So, when you say in some ways, yes, it's             13:39

10     important, what do you mean by that?                         13:39

11         A   Well, I think if somebody has likely done            13:39

12     something wrong, that it's probably important to --          13:39

13     to -- to pay attention to that.                              13:39

14         Q   And what is it that makes you think that Uber        13:39

15     may have done something wrong?                               13:39

16             MR. VAN NEST:    Again, object to any                13:39

17     discussion of communications you've had with lawyers.        13:39

18             If you have some information outside of that,        13:40

19     you may answer.                                              13:40

20             THE WITNESS:    I mean, I think we're still in       13:40

21     the early stages of that -- of knowing the answers to        13:40

22     those questions, and I expect we'll get much better          13:40

23     ones.                                                        13:40

24             MR. GONZALEZ:    Q.   Well, sitting here today,      13:40

25     separate and apart from what your lawyers may have           13:40

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1      told you, what is your understanding of what Uber did              13:40

2      that led to them being sued?                                       13:40

3          A    Well, I mean, I think that Otto, the company,             13:40

4      obviously, in my understanding, there is a poaching                13:40

5      claim.   There is a trade secret claim.          There's files     13:40

6      that are at issue.      There's knowledge of that                  13:40

7      potentially by Uber at a pretty early stage.           And then    13:40

8      there's a very large price paid to a company that                  13:40

9      existed for a very short time in combination with                  13:41

10     that.                                                              13:41

11              That's, you know, I think the basic summary               13:41

12     people would give of the -- of the proceedings here.               13:41

13         Q    You used the word "potentially," which is an              13:41

14     important word, at least in my mind.                               13:41

15              When you say that, potentially, Uber knew at              13:41

16     a pretty early stage of some wrongdoing, what is the               13:41

17     specific wrongdoing that you believe Uber knew about?              13:41

18              MR. VAN NEST:     Again, Mr. Page, do not                 13:41

19     provide any communications you had with lawyers.                   13:41

20              If you can answer outside that -- that's all              13:41

21     counsel is asking for -- you may answer him.                       13:41

22              THE WITNESS:     I mean, I can provide, like, a           13:41

23     summary of some of the press articles that I read,                 13:41

24     which is probably not that interesting, as it's public             13:41

25     knowledge.                                                         13:41

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1               MR. GONZALEZ:    And you read about that.     I     13:41

2      mean, we all can read the papers.        I -- and if you     13:41

3      don't know anything, that's fine.                            13:41

4          Q    I just need to know:     Other than what your       13:41

5      lawyers may have told you, do you have any factual           13:41

6      basis for believing that, at an early point, Uber knew       13:42

7      there was something wrong?                                   13:42

8          A    I mean, I guess the thing I'm referring to is       13:42

9      just some public information around the time in which        13:42

10     they knew maybe there was copied files, but I'm not an       13:42

11     expert on that.     I just have seen some comments to        13:42

12     that effect.                                                 13:42

13              I'm not talking a privileged communication          13:42

14     there.                                                       13:42

15         Q    Understood.                                         13:42

16              You're just talking about what you read in          13:42

17     the papers?                                                  13:42

18         A    Yeah.                                               13:42

19         Q    Okay.    Other than what you read in the            13:42

20     papers, you don't have any personal knowledge; is that       13:42

21     fair?                                                        13:42

22         A    No.                                                 13:42

23         Q    "No" meaning it is fair?                            13:42

24         A    I'd say other than that and privileged              13:42

25     communication.                                               13:42

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1              MR. GONZALEZ:     Let me show you a document               13:42

2      that we've marked as Exhibit 1088.                                 13:42

3              (Document marked Exhibit 1088                              13:42

4                for identification.)                                     13:42

5              MR. VAN NEST:     Thank you.                               13:42

6              MR. GONZALEZ:     For the record, this is an               13:42

7      e-mail chain.    The top of the first page is an e-mail            13:42

8      from Mr. Page, dated December 6th, 2010.            It has Bates   13:43

9      stamp Nos. '26138 through '140.                                    13:43

10         Q   I'm going to show you a series of documents.               13:43

11     And you obviously can read whatever you feel like you              13:43

12     need to read, but I'm going to ask you only some very              13:43

13     specific questions.     And so, what I suggest is that             13:43

14     you look at what I'm asking you.        And, if you feel you       13:43

15     need to read more, you can read as much as you feel.               13:43

16         A   Okay.                                                      13:43

17         Q   This is an e-mail from you to David Lawee.                 13:43

18             Did I pronounce that correctly?                            13:43

19         A   Yes.                                                       13:43

20         Q   Is Mr. Lawee still with your company?                      13:43

21         A   He is.                                                     13:43

22         Q   And what was his position at this time in                  13:43

23     2010?                                                              13:43

24         A   I mean, I think in the context, I don't know               13:43

25     his exact position.     But,                                       13:43

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1

                                                                      13:43

3                  And he went on to be business development and      13:43

4      investments.                                                   13:43

5          Q       The discussion in this e-mail is about



                            .                                         13:44

8                  Is that generally fair?                            13:44

9          A       I mean, I can look through it, if you'd like.      13:44

10         Q       Sure.                                              13:44

11                 And particularly, I'd call your attention to       13:44

12     the first page past the halfway point, the e-mail from         13:44

13     Mr. Lawee to you.        He's talking about

                                                         .            13:44

15                 Do you see that?                                   13:44

16         A       Yeah.                                              13:44

17         Q       Does that refresh your recollection that




               ?                                                      13:44

22         A       I mean, I guess I can read the e-mail.     I'm     13:44

23     not sure that's -- are you saying that was our intent          13:44

24     or --                                                          13:45

25         Q       Does that refresh your recollection that           13:45

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1      that's where you ended up?                                   13:45

2          A     No.                                                13:45

3          Q     And then you wrote back and you said:              13:45

4

                                                                    13:45

6                Do you see that?                                   13:45

7          A     Yeah.                                              13:45

8          Q     What do you mean by that,

                         ?                                          13:45

10         A     I mean, we wanted to probably approximate          13:45

11     the -- what a start-up would do for some of the key          13:45

12     people.                                                      13:45

13         Q     And that was, in part, to encourage them to        13:45

14     stay; right?                                                 13:45

15         A     I mean, I've already testified that I think        13:45

16     you're getting them to stay, but also getting them to        13:45

17     really be vested in the outcome is maybe the more            13:45

18     important question.                                          13:45

19         Q     And then you said, at the top e-mail




                                                                    13:45

23               Do you see that?                                   13:45

24         A     Yeah, I saw that at the top.                       13:45

25         Q                                                        13:45

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1




                                                                            13:46

7          Q        Right.                                                  13:46

8                   And the passengers that you're currently                13:46

9      giving rides to in Phoenix,

                ?                                                           13:46

11         A

                                                                            13:46

13         Q        Fair enough.                                            13:46

14




                                                                            13:46

19         Q        You tell me.   You're the CEO.        My                13:46

20     understanding is that                      .     If I'm wrong, I'm   13:46

21     wrong.                                                               13:46

22         A        I'm not the CEO of Waymo.         I'm the CEO of        13:46

23     Alphabet.                                                            13:46

24         Q        Fair enough.   We'll -- we'll find out from             13:46

25     somebody else, but I think they're free.                             13:46

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1          A   Okay.                                                    13:46

2          Q   When you say




                                                      ?                 13:47

6          A   I guess I'm confused about the context of                13:47

7      that -- of this statement.      Is that just -- I mean, it       13:47

8      has nothing to do with this document; no?                        13:47

9          Q   Tell me why you're separating the two.          I --     13:47

10     I thought that this document was a discussion that led           13:47

11     to --                                                            13:47

12         A   Oh, I see what you're saying.          I think they      13:47

13     just didn't do that.                                             13:47

14         Q




                                                                        13:47

23             MR. VAN NEST:    Object to form.                         13:47

24             THE WITNESS:    I don't know what happens.        I      13:47

25     mean, reading this, it's an interesting history.          I      13:47

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1      mean, maybe it would have -- it would have been good         13:47

2      if we did that.   Who knows?                                 13:48

3              MR. GONZALEZ:    All right.                          13:48

4          Q   It's your recollection, looking at this              13:48

5      document, that at some point,




                                                                    13:48

19         A   I don't -- I don't recall saying that.               13:48

20         Q   Do you recall that Sebastian Thrun was               13:48

21     involved in the discussions about




                                                                    13:49

25         Q   Yes.                                                 13:49

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1          A   Yeah, I mean, it says it's, like -- his name             13:49

2      is on here, and I think he was involved in that, yeah.           13:49

3          Q   Do you recall what role he played?                       13:49

4          A   I mean, he was definitely one of the people              13:49

5      reviewing it and kind of in charge.         I don't know the     13:49

6      exact role he played.                                            13:49

7          Q   Do you recall telling Sebastian,




                                              ?                         13:49

11         A   I don't recall that, no.                                 13:49

12         Q   Do you recall telling him that,




                                                                        13:50

25             MR. GONZALEZ:    Let me show you Exhibit 1089.           13:50

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1              (Document marked Exhibit 1089                        13:50

2                for identification.)                               13:50

3              MR. GONZALEZ:    For the record, this is a           13:50

4      two-page e-mail with Bates stamp WAYMO '26142 and            13:50

5      '143.                                                        13:50

6          Q   Sir, you are not part of this e-mail chain,          13:50

7      but I believe there's a reference in the chain to you        13:50

8      in the second e-mail from the top.                           13:50

9          A   Okay.                                                13:51

10         Q   Actually, with re- -- with respect to the one        13:51

11     I just showed you, 1088, I forgot to ask you                 13:51

12     something.                                                   13:51

13             When is the last time that you've seen this          13:51

14     e-mail, 1088?                                                13:51

15             It's dated December 6th, 2010.                       13:51

16             Have you seen it since then?                         13:51

17         A   I'm not sure how to answer that question.            13:51

18             MR. VAN NEST:    Don't provide the information       13:51

19     about discussions with your lawyers.                         13:51

20             He's asking about, have you seen it in the           13:51

21     course of business since that time?                          13:51

22             THE WITNESS:    I don't think so, no.                13:51

23             MR. GONZALEZ:    Q.   In preparing for your          13:51

24     deposition, did you review documents?                        13:51

25         A   Yeah.                                                13:51

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1             Q   And did those documents help refresh your                  13:51

2      recollection about events that occurred many years                    13:51

3      ago?                                                                  13:51

4                 MR. VAN NEST:     That's overbroad.        I'll object     13:51

5      to the form of the question.                                          13:51

6                 THE WITNESS:    I mean, I'm sure that they                 13:52

7      helped my recollection somewhat.                                      13:52

8                 MR. GONZALEZ:     Q.   They helped refresh it              13:52

9      because these events are events that took place a long                13:52

10     time ago?                                                             13:52

11            A   Yeah.                                                      13:52

12            Q   And what specific documents helped refresh                 13:52

13     your recollection?                                                    13:52

14            A   I don't recall.                                            13:52

15            Q   Are these documents that were shown to you in              13:52

16     preparation for your deposition?                                      13:52

17            A   Certainly not -- yes.                                      13:52

18            Q   All right.                                                 13:52

19                MR. GONZALEZ:     Counsel, I think per                     13:52

20     Judge Alsup's standing order, we're entitled to see                   13:52

21     those documents.                                                      13:52

22                MR. VAN NEST:     I don't think so, Counsel, but           13:52

23     we can debate that at a later time.                                   13:52

24                MR. GONZALEZ:     Okay.   Fine.    Fair enough.            13:52

25     Just so the record is clear.                                          13:52

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1              MR. VAN NEST:        I disagree, but --               13:52

2              MR. GONZALEZ:        So that the record is clear,     13:52

3      we're -- we're asking for them, and Counsel is                13:52

4      declining to provide them.                                    13:52

5              And I agree with you.          We don't need to       13:52

6      debate the point now.                                         13:52

7              All right.     Let me come back to my question.       13:52

8          Q   I -- I -- is there any particular document            13:52

9      that comes to mind in terms of refreshing your                13:52

10     recollection?                                                 13:52

11             Or, is it just the documents in general               13:53

12     refreshed your recollection?                                  13:53

13             MR. VAN NEST:        Objection to form.               13:53

14             THE WITNESS:        Nothing in particular.            13:53

15             MR. GONZALEZ:        Q.   This Document 1088, is      13:53

16     this one that refreshed your recollection in preparing        13:53

17     for the deposition?                                           13:53

18         A   I mean, I think so.         It's a long e-mail        13:53

19     thread, so I'm not sure.                                      13:53

20         Q   Understood.                                           13:53

21             Before seeing this e-mail recently, did you           13:53

22     remember that you had suggested

                               ?                                     13:53

24         A   No, I did not remember that.                          13:53

25         Q   All right.                                            13:53

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1              Now, if we can please go to 1089.                     13:53

2          A   (Witness complies.)                                   13:53

3          Q   First, you'll notice the e-mail from                  13:53

4      Sebastian right about the halfway point of the first          13:53

5      page from 11:11 p.m.                                          13:53

6              Do you see that?                                      13:54

7          A   Yes.                                                  13:54

8              MR. VAN NEST:       Take your time and review the     13:54

9      document, Mr. Page.                                           13:54

10             MR. GONZALEZ:       It's actually right above the     13:54

11     redaction.       There's one part of the document that's      13:54

12     redacted, that little black box.                              13:54

13         Q   Do you notice that right above that, it says:         13:54

14             "Anthony,                 ."                          13:54

15             Do you see that?                                      13:54

16         A   Yeah.                                                 13:54

17         Q   Does this refresh your recollection that,             13:54

18



                    ?                                                13:54

21         A   I mean, I don't recall that.                          13:54

22         Q   And then it says -- right below the                   13:54

23     redaction, it says:                                           13:54

24

                                                                     13:54

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1                Do you see that?                                        13:54

2          A     Yeah.                                                   13:54

3          Q     Does that refresh your recollection --                  13:54

4      recollection at all that



                         ?                                               13:55

7          A     I mean, I don't recall it.           I'm sure it's,     13:55

8      like, an actual document somewhere.                               13:55

9          Q     And then, if you go up the chain, is it                 13:55

10     Sergey?    Is that how you pronounce his name?                    13:55

11         A     Sergey.                                                 13:55

12         Q     Okay.       Sergey writes -- he's your co-founder;      13:55

13     is that right?                                                    13:55

14         A     Yes.                                                    13:55

15         Q     You're good friends?                                    13:55

16         A     Yes.                                                    13:55

17         Q     Sergey writes:                                          13:55

18



                                                                         13:55

21               Do you see that?                                        13:55

22         A     Yeah.                                                   13:55

23         Q     He's basically asking,

                                           ?                             13:55

25         A     Is he -- is he asking me?                               13:55

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1             Q     No, he's not asking you.        I just want you to     13:55

2      follow the e-mail.                                                  13:55

3             A     Okay.                                                  13:55

4             Q     Is that your understanding, that he's asking,          13:55

5                                                    ?                     13:55

6                   MR. VAN NEST:     I'll object to the form.             13:55

7                   THE WITNESS:     The question --                       13:55

8                   MR. VAN NEST:     He -- he's never seen this.          13:55

9                   MR. GONZALEZ:     All right.                           13:55

10            Q     Let's go up the e-mail chain and get to the            13:55

11     part with your name.                                                13:56

12                  Sebastian responds -- I just want to put the           13:56

13     context in.          He responds to Mr. Brin, and it says, in       13:56

14     part:                                                               13:56

15



                                                                           13:56

18                  Do you see that?                                       13:56

19            A     Yeah.                                                  13:56

20            Q     Do you agree that that's the directive that            13:56

21     you gave?                                                           13:56

22            A     I mean, I can't -- I wouldn't say it in that           13:56

23     way.       But I think at the time, like,



                                                                           13:56

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1                                                                      13:56

2          Q   And, by the way, it says:                               13:56

3                                                                      13:56

4              Do you believe that Chauffeur has succeeded?            13:56

5          A   I mean, I think it's accomplished a lot.         I      13:56

6      mean, I think, you know, that there's no doubt that             13:56

7      the whole industry has changed as a result, a large             13:56

8      industry.                                                       13:56

9          Q   As of the date that Mr. Levandowski left your           13:57

10     company in January of 2016, as of that date, did you            13:57

11     think that Chauffeur had succeeded?         Would you agree     13:57

12     that it had?                                                    13:57

13         A   In the context of this document, which is               13:57

14     about




                                                                       13:57

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1         A   As I already stated, I think there are some          13:57

2     complicated things around that.                              13:57

3         Q   What is it that you're referring to when you         13:58

4     say -- I didn't intend to say anything controversial.        13:58

5




                                                                   13:58

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1




                                                                   13:59

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1           A   Yes.    Sorry.                                       14:01

2           Q   Okay.    And I just want to show you a couple        14:01

3      of parts of this.      First, if you look at the bottom of    14:01

4      the second page, you start this chain by asking for a         14:01

5

                                                                     14:02

7               Do you see that at the very bottom of that           14:02

8      second page?                                                  14:02

9           A   Okay.                                                14:02

10          Q   Is Laszlo Bock still with Google?                    14:02

11          A   He is not.                                           14:02

12          Q   Do you know where Mr. Bock is today?                 14:02

13          A   No.                                                  14:02

14          Q   And do you -- does this refresh your                 14:02

15     recollection that



                                        ?                            14:03

18          A   I can read through it, if you'd like.        I       14:03

19     don't know that --                                            14:03

20          Q   No, no, no.      I'm simply asking whether           14:03

21     looking at it today refreshes your recollection that,         14:03

22     back in July of 2011,

                                    ?                                14:03

24          A   Yeah, I think that's correct.                        14:03

25          Q   And, on the first page, point No. 2, does            14:03

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1      that refresh your recollection that



                  ?                                                       14:03

4                MR. VAN NEST:     He's asking whether you now            14:03

5      remember that, after reviewing this.                               14:03

6                THE WITNESS:     No, I don't remember that.       I      14:03

7      mean, I don't know if this is, like, the complete                  14:03

8      thing also.       I mean, this is --                               14:03

9                MR. GONZALEZ:     I understand.       This may simply    14:03

10     be a snapshot in time.       I get that.      I'm just trying      14:03

11     to see if it sparks a memory.                                      14:03

12          Q    Right above that, it talks about




                                                                          14:04

16               Do you see that?                                         14:04

17          A    Yeah.                                                    14:04

18          Q    Does that refresh your recollection that                 14:04

19




                I just don't know myself.                                 14:04

24          Q    All right.                                               14:04

25               The point of this e-mail is simply to show               14:04

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1      that, even though you may not remember today, you were             14:04

2      involved in communications in 2011 about

                                             ; is that fair?              14:04

4                MR. VAN NEST:    Object to form.                         14:04

5                THE WITNESS:    I'm not sure how involved I am.          14:04

6      It seems like                                           , and      14:04

7      I'm being informed.                                                14:04

8                MR. GONZALEZ:    Q.   Do you recall -- does this         14:04

9      refresh your recollection that, in 2011,



                                                               ?          14:04

12               MR. VAN NEST:    He wants to know if you now             14:05

13     remember that.                                                     14:05

14               THE WITNESS:    No.                                      14:05

15               MR. VAN NEST:    That's what he's asking.                14:05

16               THE WITNESS:    I don't now remember that.        I      14:05

17     believe I was on this e-mail.                                      14:05

18               MR. GONZALEZ:    Whoops.    Wrong one.                   14:05

19               (Document marked Exhibit 1091                            14:05

20                for identification.)                                    14:05

21               MR. GONZALEZ:    Sir, let me show you a                  14:05

22     document that we've marked as Exhibit 1091.          It's a        14:05

23     one-page e-mail from Waymo with the Bates stamp                    14:05

24     '11799.                                                            14:05

25               MR. VAN NEST:    Thank you.                              14:05

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1                MR. GONZALEZ:   Q.    Do you recall receiving       14:06

2      this e-mail from Mr. Levandowski on January 27, 2016?         14:06

3           A    I mean, I think I clearly did receive this          14:06

4      e-mail, yes.                                                  14:06

5           Q    I'm sorry?                                          14:06

6           A    I clearly received this e-mail, yes.                14:06

7           Q    Do you remember it?                                 14:06

8           A    I remember getting an e-mail like this, yes.        14:06

9           Q    He says that he bumped into Sebastian, and          14:06

10     he's super happy at Udacity and kitty hawk.                   14:06

11




                                                                     14:06

15          Q    Then he says:                                       14:06

16               "There's just too much BS with Chris."              14:06

17               That's Mr. Urmson?                                  14:06

18          A    Yes.                                                14:06

19          Q    "JK, Brian."                                        14:06

20               Who did you understand that was referring to?       14:06

21          A    That's John Krafcik and Bryan Salesky, I            14:06

22     assume.                                                       14:07

23          Q    You said earlier that, when you received the        14:07

24     e-mail, you don't recall responding to                        14:07

25     Mr. Levandowski; is that right?                               14:07

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1            A   Yeah, I don't recall responding.                            14:07

2            Q   You delegated that task to someone else.                    14:07

3                What was your understanding as to what                      14:07

4      Mr. Levandowski's relationship was -- was with John or                14:07

5      Bryan?    Did you have an understanding?                              14:07

6                MR. VAN NEST:    Objection; form.          It's             14:07

7      compound.                                                             14:07

8                THE WITNESS:    Sorry.     Can you repeat it?               14:07

9      Sorry.                                                                14:07

10               MR. GONZALEZ:    Yeah.                                      14:07

11           Q   You -- you indicated earlier that you were                  14:07

12     aware that there was some tension between Anthony and                 14:07

13     Chris.                                                                14:07

14               Were you aware of any tension between Anthony               14:07

15     and Bryan?                                                            14:07

16           A   Anthony and Bryan.       I'm just trying to think           14:07

17     about that.                                                           14:07

18               I mean, yeah, I can't really recall.              It        14:07

19     wouldn't be surprising, I think, but...                               14:08

20           Q   What about Anthony and John?                                14:08

21           A   There was definitely tension between Anthony                14:08

22     and John.                                                             14:08

23           Q   And -- and explain to me what you base that                 14:08

24     on.                                                                   14:08

25           A   Well, I mean, a couple of things.            I mean, I      14:08

                                                                          Page 104

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1      think it's hard to hire a new person and put them in           14:08

2      charge and have the previous people who were in charge         14:08

3      be there.     So, I think they actually did a pretty good      14:08

4      job of that, but there was a lot of tension.                   14:08

5           Q    John was hired to be in charge of the group          14:08

6      at a time when you understood that Anthony wanted to           14:08

7      be in charge.                                                  14:08

8                Is that what you're referencing?                     14:08

9           A    I don't know that Anthony wanted to be in            14:08

10     charge.     But he was a significant person on the team,       14:08

11     obviously.     You know, somewhat as -- you know, when         14:08

12     you hire a new person, it's just hard to retain the            14:08

13     old people.     That's pretty unusual.      And, we do it      14:08

14     better than most, I think.                                     14:08

15          Q    Who made the decision to hire John as the            14:09

16     head of the project?                                           14:09

17          A    I mean, I think probably --




                                                                      14:09

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1




                                                                     14:09

9           Q   Did you consider appointing Mr. Levandowski          14:09

10     to the position that John got?                                14:09

11          A   I mean, I don't -- I don't remember seriously        14:10

12     considering that.                                             14:10

13          Q   And why didn't you?                                  14:10

14          A   I mean, I was, as I said,




                                                                     14:10

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1                                                                      14:10

2           Q   Why did you think it made a lot of sense for           14:10

3      Mr. Levandowski to have a role around the hardware?             14:10

4           A   I just think he had a lot of passion around            14:10

5      it and, you know, would probably move things forward.           14:10

6      But that was hardware, specifically build of a car --           14:10

7      build of cars, which I felt like was an easier thing            14:11

8      to do maybe than the team thought, and I think Anthony          14:11

9      agreed with me about that.                                      14:11

10          Q   What is it that made you believe that                  14:11

11     Mr. Levandowski would be good at building the car?              14:11

12          A   Well, I think he just had done that before.            14:11

13     So he built the -- not the car, but really, the                 14:11

14     integration with the car.     Building the car is not           14:11

15     really correct; taking a car that exists and                    14:11

16     integrating the self-driving systems with it.        He did     14:11

17     that before for us, so it was not a stretch.        He was      14:11

18     involved in it.                                                 14:11

19          Q   Are autonomous vehicles important to Google?           14:11

20          A   Well, I --                                             14:11

21              MR. VAN NEST:    Objection; form.                      14:11

22              THE WITNESS:    -- yeah, I guess --                    14:12

23              MR. VAN NEST:    You may answer.                       14:12

24              THE WITNESS:    -- they're part of Alphabet,           14:12

25     not Google.                                                     14:12

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1                MR. GONZALEZ:   All right.                                14:12

2            Q   Are autonomous vehicles important to                      14:12

3      Alphabet?                                                           14:12

4            A   I mean, I think it's a scenario where, you                14:12

5      know, we're obviously investing a lot in.            And then,      14:12

6      you know, it's one of the things we work pretty hard                14:12

7      on.                                                                 14:12

8            Q   Why?                                                      14:12

9            A   I think a lot of people die on highways, and              14:12

10     I think people spend a lot of time driving.            I think      14:12

11     it's an important area.                                             14:12

12           Q




                                                                           14:13

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1           A



                                                                      14:13

4           Q   Is Uber a competitor?                                 14:13

5           A   I think it's pretty clear that Uber is a              14:13

6      competitor in the self-driving space.                          14:13

7           Q   When was that made clear to you?                      14:13

8           A   Well, I think just Travis started talking             14:13

9      about it, you know, like --                                    14:13

10          Q   When?                                                 14:13

11          A   I don't know.   Whenever he started talking           14:13

12     about it in public, I think it was pretty clear.       He      14:13

13     said, like, "We must do this, or our company will not          14:13

14     succeed."   I think it's pretty foolish to assume              14:13

15     they're not a competitor at that point.                        14:14

16          Q   Did you ever have any discussions with                14:14

17     Mr. Kalanick about them being a competitor?                    14:14

18          A   I mean, I think from time to time we                  14:14

19     discussed some things.




                                                                      14:14

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1                                                                      14:14

2           Q   Do you remember when you told him that?                14:14

3           A   No.     I mean, I've had a few conversations           14:14

4      over the years.      I don't...                                 14:14

5               MR. GONZALEZ:     Let me show you a document           14:14

6      that we've marked as Exhibit 1092.                              14:14

7               (Document marked Exhibit 1092                          14:14

8                  for identification.)                                14:15

9               MR. GONZALEZ:     Sorry.    Before I get to 1092,      14:15

10     I forgot to ask one question about what you just said           14:15

11     about Travis.                                                   14:15

12          Q   You didn't recall when you had the                     14:15

13     conversation.                                                   14:15

14              Do you recall where you were?                          14:15

15              Were you having lunch somewhere?                       14:15

16          A   No, I don't really recall.         We had various      14:15

17     contact at conferences and things.          So, I don't         14:15

18     think -- we generally didn't have scheduled meetings,           14:15

19     but we'd kind of bump into each other.                          14:15

20          Q   All right.     Fair enough.                            14:15

21              Exhibit 1092 is an e-mail chain involving              14:15

22     Mr. Page.      It's a one-page document, WAYMO '26141.          14:15

23              Mr. Page, do you recall receiving the bottom           14:15

24     e-mail from Mr. Levandowski on May 16, 2011?                    14:15

25          A   I'm sure I received it.        Let me just take a      14:15

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1      look at it.                                                   14:15

2           Q   Sure.                                                14:15

3           A   (Witness reading document.)                          14:15

4               Okay.                                                14:16

5           Q   When Mr. Levandowski refers to                       14:16

6

                                                      ?              14:16

8           A   Yeah, I think that's correct.                        14:16

9           Q   And why is it that you forwarded this to             14:16

10     Sebastian?                                                    14:16

11          A   I mean, this is a long time ago, in 2011.            14:16

12     But, I mean, it looks to me like, you know, I told            14:16

13     him, "Can you handle this?"      So, I'm just saying,         14:16

14     like, I don't want to deal with this.                         14:16

15              And then Sebastian confirms that it's an             14:16

16     issue; like, there's some sort of management issue.           14:16

17          Q   "Anthony threatens to leave the team if he           14:17

18     isn't the single leader."                                     14:17

19              Do you see that?                                     14:17

20          A   Yeah.                                                14:17

21          Q   Is that kind of what you were thinking at the        14:17

22     time, that Anthony himself wants to be the leader of          14:17

23     this team?                                                    14:17

24          A   Well, I told you I think he was, like, a             14:17

25     significant leader or the main leader of the team             14:17

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1      early on, and at some point that kind of transitioned.         14:17

2      And that's probably what this is about.                        14:17

3           Q   If you can recall, when is it that it                 14:17

4      transitioned, in your mind?                                    14:17

5               Is it when you hired John as the CEO or the           14:17

6      leader of that group?                                          14:17

7           A   No.     I mean, that was much, much later.     That   14:17

8      was recently.                                                  14:17

9           Q   Right.                                                14:17

10              So what -- what was the trigger, if you can           14:17

11     recall, that led to the transition?                            14:17

12          A   I don't know.     I'm not that expert on that         14:17

13     question.      I mean, I assume it has something to do         14:17

14     with Chris, who was in the -- running it.                      14:17

15          Q   Sebastian says:                                       14:17

16              "If he is the single leader, a good number of         14:17

17     team members will leave."                                      14:17

18              Do you see that?                                      14:17

19          A   Yeah.                                                 14:18

20          Q   Did you ever talk to Sebastian about that?            14:18

21          A   I mean, I don't recall.                               14:18

22          Q   The conversation that you had with TK, where          14:18

23

                          , was that before this lawsuit was          14:18

25     filed?                                                         14:18

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1           A   Yes.                                                 14:18

2           Q   Do you remember how long before the lawsuit          14:18

3      was filed?                                                    14:18

4           A   No.                                                  14:18

5           Q   Do you recall that, from time to time,               14:18

6      Mr. Levandowski would send you fairly lengthy e-mails         14:18

7      with his ideas and thoughts about the autonomous              14:18

8      driving unit, Project Chauffeur?                              14:18

9               MR. VAN NEST:    Object to form.                     14:18

10              THE WITNESS:    Yeah, I don't recall that.           14:18

11              (Document marked Exhibit 1093                        14:18

12               for identification.)                                14:18

13              MR. GONZALEZ:    Let me show you a document          14:18

14     that we've marked as Exhibit 1093.                            14:19

15              THE WITNESS:    Okay.                                14:19

16              MR. GONZALEZ:    This is a two-page e-mail           14:19

17     chain, with Bates stamp Nos. '6311 and '6312.                 14:19

18          Q   Is this an e-mail, sir, that you received at         14:19

19     the bottom of the first page from Mr. Levandowski on          14:19

20     January 9th, 2016?                                            14:19

21          A   I mean, I think so, yes.                             14:19

22          Q   If you'll look at the bottom of that first           14:20

23     page, he says:                                                14:20

24                                                                   14:20

25              Do you see that?                                     14:20

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1             A    Yeah.   I mean, that's sort of self-serving,             14:20

2                                                                       .   14:20

3             Q    Did you agree with his statement?                        14:20

4             A    No, I don't think so.                                    14:20

5             Q    Why not?                                                 14:20

6             A    I mean, for the reason I just said.       I think,       14:20

7      like -- I mean, for what I just -- the reasons I just                14:20

8      said.      He's -- he's focused on what he's doing, which            14:20

9      he's arguing is going fine.                                          14:20

10                 But I think that's -- even his own statement             14:20

11     is, like -- then he says:                                            14:20

12

                                                                            14:20

14                 So, I mean, it's, like, even                             14:20

15     self-contradictory, I think.                                         14:20

16            Q    So, other than it being self-serving and                 14:20

17     possibly self-contradicting, as you just noted, was                  14:20

18     there anything at the time that led you to believe                   14:20

19     that




                                                                            14:21

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1                                                                    14:21

2           Q   All right.                                           14:21

3               And then, if you'd go to the top of the              14:21

4      second page.                                                  14:21

5           A   (Witness complies.)                                  14:21

6           Q   It says on the second line:                          14:21

7

                                                                     14:21

9               Do you see that at the end of the second             14:21

10     line?                                                         14:21

11          A   Yeah.                                                14:21

12          Q   Do you agree with that?                              14:21

13          A   I mean, in general, I would agree with the           14:21

14     sentiment of that.



                                                                     14:21

17          Q   Then he says in the next paragraph:                  14:22

18



                                                                     14:22

21              Do you see that?                                     14:22

22          A   Yeah.                                                14:22

23          Q   Would you agree with that?                           14:22

24          A   Let me read through this.                            14:22

25              MR. VAN NEST:   You should read the paragraph.       14:22

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1               THE WITNESS:     (Reading document.)                 14:22

2               Sorry.     Can you state the question again?         14:22

3               MR. GONZALEZ:     Yes.                               14:22

4           Q   Did you agree with this statement that he's          14:22

5      making here about

                                             ?                       14:22

7           A   I don't think that's the greatest plan at            14:23

8      this time.                                                    14:23

9           Q   Why not?                                             14:23

10          A   I




                                                                     14:23

14          Q   Then he says in the next line:                       14:23

15




                                                            ?        14:23

19          A   Yeah, I would think so.                              14:23

20          Q   Do you recall that

                           ?                                         14:23

22          A   I don't recall it, but, I mean, it seems             14:23

23     pretty clear from the e-mail.                                 14:23

24          Q   Do you recall that that was part of the              14:23

25     tension between him and John?                                 14:23

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1           A   That I'm a bit -- I




                                                                     14:24

11              MR. VAN NEST:     Objection; form.                   14:24

12              THE WITNESS:     Yeah, I'm not aware of any.         14:24

13              MR. GONZALEZ:     Q.   You mentioned earlier that    14:25

14     Mr. Levandowski had a negative impact on the                  14:25

15     autonomous driving?                                           14:25

16          A   I said may have had a negative impact.               14:25

17          Q   You said "may have"?                                 14:25

18          A   (Witness nods head.)                                 14:25

19          Q   All right.     Well, then let me clarify.            14:25

20              Sitting here today, is it your view that             14:25

21     Mr. Levandowski had a negative impact on Project              14:25

22     Chauffeur, or are you not sure?                               14:25

23          A   I already testified I think it could be -- go        14:25

24     either way.   Could be either way, and that we'll learn       14:25

25     more, I expect.                                               14:25

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1           Q   Before, you said "and I will learn more"?                  14:25

2           A   I said we will learn more.                                 14:25

3           Q   Before this lawsuit was filed -- or actually,              14:25

4      back up even more.                                                  14:25

5               Before Mr. Levandowski left Google, as of                  14:26

6      that point, January 2016, did you think that he had                 14:26

7      had a negative impact on the company?                               14:26

8           A   I mean, I think there's a variety of opinions              14:26

9      on that point, and I tried to listen to all of them.                14:26

10          Q   What -- what was your opinion?                             14:26

11          A   Well, I usually try to average them.           And so      14:26

12     they averaged to roughly 0, I think.                                14:26

13          Q   All right.                                                 14:26

14              So, you didn't have an opinion one way or the              14:26

15     other?                                                              14:26

16          A   Well, I told you I already -- I testified                  14:26

17     already that I was supportive of having him work on                 14:26

18




                                                                           14:26

22          Q   Do you recall that Mr. Levandowski -- in                   14:27

23     addition to



                                                           ?               14:27

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1               MR. VAN NEST:     Objection to the form of the        14:27

2      question.                                                      14:27

3               THE WITNESS:     Yes.     Sorry.




                                                                      14:27

10              Your question included a lot of things.               14:27

11     Maybe you can just state it again.                             14:27

12          Q   Yes.                                                  14:27

13              I'm wondering:




                                                                      14:27

18          A   I don't recall.                                       14:28

19          Q   Do you recall Mr. Levandowski

                          ?                                           14:28

21              MR. VAN NEST:     Object to form as to who            14:28

22     you -- who is "you."      Is it Google or --                   14:28

23              THE WITNESS:     Yeah.                                14:28

24              MR. GONZALEZ:     Q.     The "you" would be you.      14:28

25              MR. VAN NEST:     I mean, it's still ambiguous,       14:28

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1      Counsel.                                                       14:28

2                 MR. GONZALEZ:    Mr. Page.                          14:28

3                 MR. VAN NEST:    As opposed to Google?              14:28

4                 MR. GONZALEZ:    Correct.                           14:28

5                 THE WITNESS:    Oh, I see.                          14:28

6                 MR. VAN NEST:    That's what he's asking.           14:28

7                 THE WITNESS:    Yeah, I certainly don't recall      14:28

8      that.                                                          14:28

9                 MR. GONZALEZ:    Q.




                                                                      14:29

18          A     For Google?                                         14:29

19          Q     Yes, for you.                                       14:29

20          A     That's not something --                             14:29

21                MR. VAN NEST:    Well, again, Counsel --            14:29

22                MR. GONZALEZ:    Q.   Well, for -- for Google --    14:29

23                MR. VAN NEST:    -- in fairness --                  14:29

24                MR. GONZALEZ:    Q.   -- for Google or for you      14:29

25     personally?                                                    14:29

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1           A   That's not --                                              14:29

2               MR. VAN NEST:    -- that -- that is compound.              14:29

3      I think you need to break those up, Counsel.                        14:29

4      Otherwise --                                                        14:29

5               MR. GONZALEZ:    Q.     The question is:     Do you        14:29

6      remember?                                                           14:29

7               If you don't remember, it doesn't matter.             If   14:29

8      you remember, I'll ask you what you remember.                       14:29

9               MR. VAN NEST:    So, this is for either                    14:29

10     Mr. Page or Google?                                                 14:29

11              MR. GONZALEZ:    Yes.                                      14:29

12              MR. VAN NEST:    Either one.                               14:29

13              THE WITNESS:    Okay.     I don't remember                 14:29

14     anything for me personally, which I think would be                  14:29

15     highly unusual.                                                     14:29

16              You know,




                                                                           14:30

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1           Q




                                                                     14:30

5




                                                                     14:31

22              (Document marked Exhibit 1094                        14:31

23               for identification.)                                14:31

24              MR. GONZALEZ:   Let me show you an exhibit           14:31

25     that we've marked as 1094.                                    14:31

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1                 MR. VAN NEST:     Thank you.                           14:31

2                 MR. GONZALEZ:     For the record, it's a               14:31

3      two-page e-mail string, with Bates stamp '11779 and               14:31

4      '80.                                                              14:31

5             Q   Sir, is this an e-mail communication between           14:31

6      you and Mr. Levandowski, dated January 25, 2016?                  14:31

7             A   Yes, from Anthony to me.                               14:31

8             Q   And then you write back to him:                        14:31

9                 "Thanks.    Looks like a very good start.     I'm      14:31

10     seeing him at 3:30.        Will try to call you before            14:31

11     that."                                                            14:31

12            A   Yeah.                                                  14:31

13            Q   Then he says:                                          14:32

14                "Sweet.    I'll be nearby.      Thanks."               14:32

15                Right?                                                 14:32

16            A   Yeah.                                                  14:32

17            Q   When Mr. Levandowski, at the bottom of the             14:32

18     first page, has a number of different steps -- do you             14:32

19     see that?                                                         14:32

20            A   Yeah, I see the long list of numbered steps.           14:32

21            Q   What is your recollection as to what these             14:32

22     steps were for?                                                   14:32

23            A   I mean, I don't recall this very well, but I           14:32

24     can read the document, if you'd like.                             14:32

25            Q   Well, when you write and say "looks like a             14:32

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                                                                          14:33

3               If you thought he was bad for the company,                14:33

4      you would not have been doing that; isn't that fair?               14:33

5           A   Well, I mean, you don't know the -- whether               14:34

6      something is going to work or not.          You just know you      14:34

7      have an expectation.      And I think this was a case              14:34

8      where I thought it could work pretty well, and I                   14:34

9      thought it could not work well at all.           I think it's      14:34

10     pretty clear it didn't work well at all, so --                     14:34

11          Q   You say, It didn't work well at all.                      14:34

12              What makes you say that?                                  14:34

13              Because he left shortly after this e-mail?                14:34

14          A   Yeah, so -- and now I'm being deposed about               14:34

15     it, so that's probably enough outcomes.                            14:34

16          Q   All right.     I get that.                                14:34

17              On January 25, 2016, it was your state of                 14:34

18     mind that Anthony Levandowski would be a good                      14:34

19     candidate to

                 ; is that right?                                         14:34

21              MR. VAN NEST:     Object to the form.                     14:34

22              THE WITNESS:     Sorry.   I guess, can you -- can         14:34

23     you just -- can we state the question again?                       14:35

24              MR. GONZALEZ:     Yes.                                    14:35

25          Q   Just going back to your earlier testimony, as             14:35

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1      of January 25, 2016, it was your state of mind that           14:35

2      Anthony Levandowski

                                                 ; true?             14:35

4           A     I mean, I've already testified




                                                                     14:35

8                 But I think the risk in this was him getting       14:35

9      along with the rest of the team --                            14:35

10          Q     But you were --                                    14:35

11          A     -- as I've already stated.                         14:35

12          Q     I'm sorry.   Were you finished?                    14:35

13          A     Yeah.   I mean, the risk of it was him getting     14:35

14     along with the other -- rest of the team and being            14:35

15     able to work productively with other people, which he         14:36

16     had a mixed reputation about.                                 14:36

17          Q     And, you were willing to assume that risk          14:36

18     because of his particular skill set; true?                    14:36

19          A     I mean, a combination, I guess, of a lot of        14:36

20     factors.     I mean, I was advising the team on this.         14:36

21                Like, if, you know, John Krafcik came to me        14:36

22     and said, like, "There is no way this is going to             14:36

23     work," I probably would have said, "Okay."                    14:36

24                Like, I mean, I was trying to help and not         14:36

25     making decisions necessarily.                                 14:36

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1            Q   But John never came to you and said that; did          14:36

2      he?                                                              14:36

3            A   I don't know that he particularly got a                14:36

4      chance, because I think this was somewhat underway,              14:36

5      and then Anthony kind of went out the door.          But, I      14:36

6      don't remember the exact timing.                                 14:36

7                (Document marked Exhibit 1095                          14:36

8                 for identification.)                                  14:36

9                MR. GONZALEZ:     I'm handing you a document           14:36

10     marked as Exhibit 1095.       It's a one-page e-mail, dated      14:37

11     March 8, 2016, WAYMO '22505.                                     14:37

12           Q   Is this an e-mail that you received from               14:37

13     Mr. Teller?                                                      14:37

14           A   I mean, undoubtedly, yeah.                             14:37

15           Q   Is this when you first found out that                  14:37

16     Mr. Levandowski was working on self-driving trucks, or           14:37

17     did you already know?                                            14:37

18           A   I don't recall.                                        14:37

19           Q   As of March 8, 2016, when you received this            14:37

20     e-mail that Anthony is working on self-driving trucks,           14:37

21     did you take any steps to protect the rights of                  14:37

22     Alphabet, Google, or Waymo at that time?                         14:37

23           A   I don't recall.                                        14:37

24           Q   Were you concerned, when you learned that              14:37

25     Anthony was working on self-driving trucks?                      14:38

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1             A     I don't recall.        I mean, you know, there's --    14:38

2      he's probably -- you know, probably first we learned                14:38

3      he was making a company, I don't know.              Like, I mean,   14:38

4      there's probably a lot of different information you                 14:38

5      get.       So, I have limited recollection of it.                   14:38

6             Q     You don't recall directing anybody to take             14:38

7      any action; do you?                                                 14:38

8             A     I don't recall, and I don't know why I would.          14:38

9      I mean, that in itself might not be an issue; right?                14:38

10     It may or may not be.                                               14:38

11            Q     You didn't think it was?                               14:38

12            A     I don't know what my state of mind was.         I      14:38

13     don't recall.                                                       14:38

14            Q     Well, if you thought it was an issue, you              14:38

15     would have done something about it; right?                          14:38

16                  MR. VAN NEST:     Object to form.                      14:38

17                  THE WITNESS:    I've already said I didn't             14:38

18     recall what I did or didn't do, based on this e-mail.               14:38

19                  MR. GONZALEZ:     Q.     Sitting here today, you       14:38

20     don't recall taking any steps after learning that                   14:38

21     Anthony was working on self-driving trucks; is that                 14:38

22     right?                                                              14:38

23            A     Based on this e-mail?                                  14:38

24            Q     Yes.                                                   14:39

25                  I mean, the e-mail clearly reflects that, as           14:39

                                                                        Page 128

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1      of March 8th, 2016, if you didn't know before, you             14:39

2      certainly know then that Anthony is working on                 14:39

3      self-driving trucks; right?                                    14:39

4           A   Yeah.                                                 14:39

5           Q   And, sitting here today, you don't recall             14:39

6      taking any steps to protect the rights of Alphabet in          14:39

7      connection with learning that fact?                            14:39

8           A   But I don't know -- I guess I'm objecting to          14:39

9      the implication that I should take action based on             14:39

10     that.                                                          14:39

11          Q   I want to be real clear.       I'm not implying       14:39

12     that at all.                                                   14:39

13          A   All right.                                            14:39

14          Q   I'm just trying to find out what you did and          14:39

15     didn't do.                                                     14:39

16          A   I don't -- I mean, I don't remember what I            14:39

17     didn't do -- did or did not do, based on that.                 14:39

18              MR. GONZALEZ:     Let's go off record.                14:39

19              THE VIDEOGRAPHER:      We are off the record at       14:39

20     2:40 p.m.                                                      14:39

21              (Recess taken.)                                       14:39

22              THE VIDEOGRAPHER:      We are back on the record      14:42

23     at 2:56 p.m.                                                   14:55

24              MR. GONZALEZ:     Q.   Sir, do you recall having      14:55

25     conversations with Sebastian Thrun about the                   14:56

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                  ?                                                  14:56

3           A   I mean, I don't remember having a                    14:56

4      conversation, but I've seen an e-mail.                        14:56

5           Q   All right.                                           14:56

6               When did you last see that e-mail?                   14:56

7           A   Very recently.                                       14:56

8           Q   Okay.   And, did you remember it?                    14:56

9           A   No, I did not remember until I saw it.               14:56

10          Q   All right.                                           14:56

11              Let me show you the e-mail that you're               14:56

12     referring to.                                                 14:56

13              (Document marked Exhibit 1096                        14:56

14               for identification.)                                14:56

15              MR. GONZALEZ:    Q.   1096, is that the e-mail       14:56

16     that you're referencing?                                      14:56

17          A   Yes, I think so.                                     14:56

18          Q   Do you remember responding?                          14:56

19          A   I mean, I don't know that I responded.      I        14:56

20     mean, this is clearly not a good idea, so --                  14:56

21          Q   Did you write back to him, telling him that?         14:56

22          A   I don't remember.     But, it obviously did not      14:57

23     happen, so --                                                 14:57

24          Q   Is there any reason why you didn't respond,          14:57

25     telling him it's clearly not a good idea?                     14:57

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1            A   Well, there are many ways of doing                  14:57

2      management.       I'm not sure which technique I used         14:57

3      there, or if I had to or not.                                 14:57

4            Q   What did you understand him to mean when he         14:57

5      says:                                                         14:57

6                                                                    14:57

7            A   I mean, Sebastian, at that time, was running        14:57

8      Udacity, so -- I think 2015,




                                                                     14:58

15           Q   By the way, how many documents did you look         14:58

16     at in preparing for your deposition?                          14:58

17           A   I mean, I don't recall the number, but some         14:58

18     fairly limited amount of time.                                14:58

19           Q   Okay.     What amount of time?                      14:58

20           A   I don't recall.     A couple of hours.              14:58

21           Q   Before today's deposition?                          14:58

22           A   Yeah.                                               14:58

23               MR. GONZALEZ:     Let me show you a document        14:58

24     that we've marked as 1097.                                    14:58

25     ///                                                           14:58

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1           A

                                                                     15:00

3           Q   All right.                                           15:00

4               When you say

                                                                ?    15:00

6               MR. VAN NEST:   Objection to the form.               15:00

7               MR. GONZALEZ:   Q.




                                                                     15:00

12          Q   Do you recall any?                                   15:00

13          A   Sure.                                                15:00

14          Q




                                                                     15:01

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                                                                    15:03

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                                                                      15:04

16          Q    And, what is it that leads you to believe --         15:04

17     I'm not disagreeing with you.        I'm just trying to see    15:04

18     what your knowledge is.                                        15:04

19               What -- what is it that you base that                15:04

20     statement on, that Mr. Levandowski made it happen?             15:04

21               MR. VAN NEST:    Objection to the form of the        15:04

22     question.                                                      15:04

23               THE WITNESS:    I think I said helped make it        15:04

24     happen.                                                        15:04

25               MR. GONZALEZ:    Q.   Well, you said getting it      15:04

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1      to happen.     I'm reading your words.                          15:04

2               Let me rephrase it using your words.         I'm not   15:04

3      trying to --                                                    15:04

4           A   I'm not --                                             15:04

5           Q   -- trick you.                                          15:04

6               On what do you base your statement that                15:04

7      Mr. Levandowski participated in getting it to happen?           15:04

8           A   Just my general recollection.         I don't, like,   15:04

9      have a citation for that.                                       15:05

10          Q




                                                                       15:05

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                                                                     15:06

9               MR. GONZALEZ:   Let me -- let me ask you then        15:06

10     a more general question.                                      15:06

11          Q   When you say Mr. Levandowski was involved,           15:06

12     what was his involvement?                                     15:06

13              MR. VAN NEST:   Asked and answered.                  15:06

14              MR. GONZALEZ:   And --                               15:06

15              MR. VAN NEST:   Oh.                                  15:06

16              MR. GONZALEZ:   -- let me be more clear.             15:06

17          Q   What was Mr. Levandowski's involvement in            15:06

18




                                                                     15:06

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1      wants to call you, or something like that, and talk to        15:08

2      you about             .                                       15:08

3                I'm, like, Oh, okay, or whatever.                   15:08

4                So, I had to take the call.                         15:08

5           Q    So, you agreed to take a call from                  15:08

6      Mr. Kalanick to talk about                                    15:08

7           A    Yes.                                                15:08

8           Q    And when was it?                                    15:08

9           A    I don't remember the day, but it was fairly         15:08

10     recently.    I mean, before all this stuff blew up.           15:08

11          Q    Right.    That's my understanding, too.             15:08

12               But what's your recollection of -- of a date?       15:08

13               For example, was it this year, or was it last       15:08

14     year?                                                         15:08

15          A    I don't remember the date.        I'm sorry.        15:08

16          Q    Okay.    Was it a phone call with just the two      15:08

17     of you?                                                       15:08

18          A    Yes.                                                15:08

19          Q    How long did the phone call last?                   15:08

20          A    I don't know.    Maybe, like, 30 minutes or         15:08

21     something like that.                                          15:08

22          Q    And, just generally, what did you talk about        15:08

23     in approximately 30 minutes?                                  15:08

24          A    Well, the first part of the call, you know,         15:08

25     was about basically,                                          15:08

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                                                                    15:10

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1           Q




                                                                     15:14

24          Q   I get it.   I don't want to cut you off.             15:14

25          A   No, it's fine.                                       15:14

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1           Q   Having now discussed this conversation a             15:14

2      couple of times today, do you believe that you've now         15:14

3      told me everything you can remember that either one of        15:14

4      you said?                                                     15:14

5           A   I mean, for the moment, yeah.                        15:14

6           Q   Is there anything in writing that reflects           15:14

7      any of the conversation?                                      15:14

8           A   I can't think of anything offhand.                   15:14

9           Q   Did you talk to anybody about the                    15:14

10     conversation after you got off the phone?                     15:14

11          A   I don't remember.     I think probably would         15:14

12     have updated people, you know, on my team, but I don't        15:14

13     remember.                                                     15:15

14          Q   Do you still have -- does your company still         15:15

15     have the investment in Uber?                                  15:15

16          A   Yes.                                                 15:15

17          Q   Having thought about it maybe a little bit,          15:15

18     any idea what the amount of the investment is today?          15:15

19          A   It's a big number.

                                                                     15:15

21          Q   Why was Waymo spun out as a separate company?        15:15

22          A   I mean, I'm not sure I'd say it's a spinout.         15:15

23     But I think it was kind of birthed as a separate              15:15

24     company within Alphabet.      But, it's not been spun out     15:16

25     of Alphabet or anything.                                      15:16

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1           Q   All right.                                           15:16

2               Why was it created as a separate company             15:16

3      under the umbrella of Alphabet?                               15:16

4           A




                                                                     15:16

9           Q   At the time that it was spun out as a                15:16

10     separate company, was there a valuation done of Waymo?        15:16

11          A   Sorry.   Again, the spinout I wouldn't say.          15:16

12          Q   Well, I don't mean to suggest or imply               15:16

13     anything by it.                                               15:16

14              At the time that Waymo was set up as a               15:16

15     separate company under the umbrella of Alphabet, was          15:16

16     there a valuation done of the company at that time?           15:16

17          A




                                                                     15:17

25          A   I mean, I don't recall.                              15:17

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1           Q




                                                                     15:18

10          Q     What is Waymo worth today?                         15:18

11                MR. VAN NEST:    Object to the form.               15:18

12                THE WITNESS:    Yeah, I don't know the answer      15:18

13     to that.                                                      15:18

14                MR. GONZALEZ:    Q.   Who would you ask?           15:18

15          A

                                                                     15:18

17          Q     Well, isn't one of the things that you expect      15:18

18     your team to do within Alphabet, is to know the value         15:18

19     of each of your subsidiaries?                                 15:18

20          A     Yeah, I guess in that sense, I guess               15:18

21     somewhat.                                                     15:18

22          Q     So, who is the person who is responsible for       15:18

23     setting up the value of what is now Waymo?                    15:18

24          A     I mean, a little bit depends on the process.       15:18

25     And, I'm not sure of the exact process we use for that        15:18

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1      nowadays.                                                     15:18

2           Q   So, other than the Waymo CEO, who else would         15:19

3      you ask, Hey, what's our valuation of Waymo today?            15:19

4           A   Well, I'd probably ask David that question.          15:19

5           Q   Drummond?                                            15:19

6           A   Yes.    I mean, he wouldn't do it, but he would      15:19

7      figure out how to do it.                                      15:19

8           Q   He would know who to ask?                            15:19

9           A   Yeah.                                                15:19

10              MR. GONZALEZ:    Let me show you a document          15:19

11     we've marked as 1098.                                         15:19

12              (Document marked Exhibit 1098                        15:19

13                 for identification.)                              15:19

14              MR. GONZALEZ:    This is a one-page document,        15:19

15     WAYMO '29264.                                                 15:19

16          Q   Is this an e-mail that you received from             15:19

17     Mr. Kalanick on February 7, 2014?                             15:19

18          A   Sure.                                                15:19

19          Q   And he's basically asking to catch up?               15:19

20          A   Yeah.                                                15:19

21          Q   Do you recall that you've had lunch with             15:19

22     Mr. Kalanick?                                                 15:19

23          A   I mean, I don't recall.       But, I mean, it's      15:19

24     possible, yeah.                                               15:20

25          Q   Do you recall getting together with                  15:20

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1      Mr. Kalanick, after you received this e-mail, to talk         15:20

2      about Uber, your investment in the company?                   15:20

3           A     Yeah, I guess my recollection around -- in         15:20

4      the early days of our relationship, the main issue we         15:20

5      had was,

                        So, I'm not really remembering this          15:20

7      e-mail.     Like, I sort of assume it's actually about        15:20

8      that.                                                         15:20

9           Q     Other --                                           15:20

10          A     My involvement with him was around that.           15:20

11




                                                                     15:21

20          Q     Is there anything else you've discussed with       15:21

21     Mr. Kalanick, with respect to

                                ?                                    15:21

23          A     I mean, I don't -- I don't recall any other        15:21

24     major kind of conversations we had.                           15:21

25          Q     Do you recall a meeting that you had with          15:21

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1      Mr. Kalanick and Mr. Drummond?                                   15:21

2           A    I mean, maybe.        Do you have more context?        15:21

3           Q    A lunch meeting to discuss the

                                 .                                      15:21

5           A    Oh, I don't recall that offhand, no.                   15:21

6           Q    To your knowledge, has there ever been any             15:22

7      change in projections, for what is now Waymo, as a               15:22

8      result of different people leaving the company?                  15:22

9           A    Sorry.   Projections of what?                          15:22

10          Q    Projections or benchmarks of how the company           15:22

11     might do in the future.                                          15:22

12               MR. VAN NEST:        I'll object to the form.          15:22

13               THE WITNESS:        Yeah, I'm not aware of such        15:22

14     things.    I mean, it's...                                       15:22

15               MR. GONZALEZ:        Q.   Other than whatever may      15:22

16     have been said in the phone call that you've testified           15:22

17     about with Mr. Kalanick, did you ever express concern            15:22

18     to anyone at Uber about possible misconduct that was             15:22

19     somehow related to Anthony Levandowski?                          15:22

20          A    Well, I'm not sure I stated that to Travis,            15:22

21     first of all.                                                    15:23

22          Q    I'm not saying you did, either.                        15:23

23          A    Okay.                                                  15:23

24          Q    That's why I'm just trying to set aside that           15:23

25     conversation.                                                    15:23

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1           A   Okay.                                                15:23

2           Q   Did you ever express a concern to anyone at          15:23

3      Uber that there was potential misconduct involving            15:23

4      Anthony Levandowski?                                          15:23

5           A   I don't think so.                                    15:23

6           Q   Why not?     Why didn't you?                         15:23

7           A   I mean, I don't think that's my job,                 15:23

8      probably.                                                     15:23

9           Q   Well, you're a significant investor in Uber;         15:23

10     right?                                                        15:23

11          A   Yeah, but I don't manage that relationship.          15:23

12     We have people who -- you know, like David, who are on        15:23

13     the board and such.                                           15:23

14          Q   Precisely.                                           15:23

15          A   My job is delegation, you know, and so I             15:23

16     delegate.                                                     15:23

17          Q   Why didn't you delegate to anyone the task of        15:23

18     talking to Uber to see if you can work out whatever           15:23

19     concerns you had about Anthony Levandowski?                   15:23

20              MR. VAN NEST:     Objection to form.                 15:23

21              THE WITNESS:     Yeah, I mean, you're -- I've        15:23

22     already testified on this point, and I already                15:23

23     testified                                        .            15:24

24              But, I guess I'm confused as to the question.        15:24

25              MR. GONZALEZ:     I don't think that you             15:24

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1      to them.                                                      15:25

2                 MR. VAN NEST:   Yeah.                              15:25

3                 MR. GONZALEZ:   All right.                         15:25

4           Q     But to be clear, sitting here today, you           15:25

5      don't recall




                                                                     15:25

16          A     No.                                                15:25

17                MR. GONZALEZ:   Let me hand you a document         15:26

18     that we've marked as Exhibit 1099.                            15:26

19                (Document marked Exhibit 1099                      15:26

20                 for identification.)                              15:26

21                MR. GONZALEZ:   For the record, this is a          15:26

22     two-page document, WAYMO '29346 and '47.                      15:26

23          Q     Sir, is this an e-mail that you received from      15:26

24     Mr. Thrun on November 12, 2014?                               15:26

25          A     Yes.                                               15:27

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1           Q   And, as of this point, he's reporting to you               15:27

2      on a variety of issues involving                    ; is that       15:27

3      right?                                                              15:27

4               MR. VAN NEST:    Take your time and review the             15:27

5      memo.                                                               15:27

6               THE WITNESS:    Looks like a number of things.             15:27

7               MR. GONZALEZ:    Q.   If you look in the middle,           15:27

8      there's a reference to                                              15:27

9               Do you see that?                                           15:27

10          A   Yes, I see that.                                           15:27

11          Q   What is that?                                              15:27

12          A   That's just                                            .   15:27

13          Q   And,




                                                                           15:27

                                                                       Page 154

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1




                                                                    15:29

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1          Q




                                                                    15:30

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1           A                                                            15:30

2                  (Document marked Exhibit 1100                         15:30

3                      for identification.)                              15:30

4                  MR. GONZALEZ:     Let me show you a document          15:30

5      that we've marked as Exhibit 1100.                                15:30

6           Q      Is this an e-mail to you from

                , dated March 29, 2015?                                  15:31

8           A      It looks like it, yeah.                               15:31

9           Q

                                                               ?         15:31

11                 MR. VAN NEST:     Take a moment to review it,         15:31

12     please.                                                           15:31

13                 THE WITNESS:     Okay.                                15:31

14                 (Reading document.)                                   15:31

15                 Okay.                                                 15:31

16                 MR. GONZALEZ:     Q.     Is this an e-mail that you   15:31

17     received from                  March 29, 2015, involving          15:31

18                 ?                                                     15:31

19          A      It looks like it, yes.                                15:31

20          Q




                                                                         15:32

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1          Q   And you'll note it says March 29.          Let me      15:32

2     show you an e-mail from a couple of days later, 1101.           15:32

3              (Document marked Exhibit 1101                          15:32

4               for identification.)                                  15:32

5              MR. VAN NEST:   Thank you.                             15:32

6              MR. GONZALEZ:   Q.




                                                                      15:33

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1           A




                                                                       15:33

10          Q   Exhibit 1100?                                          15:33

11          A   Yeah, I think -- yes, 1100.                            15:33

12              MR. GONZALEZ:     Okay.   Counsel, Mr. Chatterjee      15:34

13     wants to ask some questions.       I obviously have a lot       15:34

14     more questions for this witness.        And I realize the       15:34

15     Court has limited us to four hours.         So, I'm going to,   15:34

16     as a courtesy, pass the baton over to Mr. Chatterjee.           15:34

17     We reserve our rights.      I'll look at my notes and may       15:34

18     have a few more questions when he's done.                       15:34

19              But for now, I want to go off the record so I          15:34

20     don't use up time while we're switching.                        15:34

21              THE VIDEOGRAPHER:     We are off the record at         15:34

22     3:34 p.m.                                                       15:34

23              (Recess taken.)                                        15:34

24              THE VIDEOGRAPHER:     We are back on the record        15:35

25     at 3:36 p.m.                                                    15:35

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1                                                                         15:35

2                                 EXAMINATION                             15:35

3      BY MR. CHATTERJEE:                                                 15:35

4           Q     Hi, Mr. Brin.     We haven't met before.       My       15:36

5      name is Neel Chatterjee.        I represent an entity called       15:36

6      Otto Trucking.                                                     15:36

7                 MR. VAN NEST:     Mr. Page.                             15:36

8                 MR. CHATTERJEE:     Mr. Page.      It's -- the names    15:36

9      are used so interchangeably in the market.             Mr. Page.   15:36

10          Q     Have you ever heard of Otto Trucking?                   15:36

11          A     I mean, I've heard of Otto.                             15:36

12          Q     Have you ever heard of Otto Trucking, that              15:36

13     company specifically?                                              15:36

14          A     I'm not sure.     Is there a difference between         15:36

15     Otto and Otto Trucking?                                            15:36

16          Q     Well, what do you understand Otto to be?                15:36

17          A     Sorry.    Today I see it as part of Uber, I             15:36

18     suppose.                                                           15:36

19          Q     Okay.    Would it surprise you to learn that            15:36

20     Otto Trucking today is not part of Uber?                           15:36

21          A     I don't know.                                           15:36

22          Q     Would it surprise you?                                  15:36

23          A     Depends what Otto Trucking is, I suppose.               15:36

24          Q     Do you know what Otto Trucking is?                      15:36

25          A     Apparently not, I guess.                                15:36

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1           Q     Are you aware of any wrongful acts that Otto       15:36

2      Trucking has engaged in?                                      15:37

3                 MR. VAN NEST:     Objection.                       15:37

4                 And I'll instruct you, Mr. Page, to the            15:37

5      extent you have information provided by one of the            15:37

6      lawyers for Waymo or Alphabet, do not answer.                 15:37

7                 If you have any independent information, you       15:37

8      may answer.                                                   15:37

9                 THE WITNESS:    I mean, I'm not sure.              15:37

10                MR. CHATTERJEE:     Q.   So is that a "no"?        15:37

11          A     State the question again, please.                  15:37

12          Q     Other than any conversations you've had with       15:37

13     your lawyers, are you aware of any wrongful acts that         15:37

14     Otto Trucking has engaged in associated with this             15:37

15     lawsuit?                                                      15:37

16          A     Seems like a very strange line of                  15:37

17     questioning, because I'm not sure about the entity            15:37

18     with which I'm replying.                                      15:37

19          Q     So, you don't know what it is; right?              15:37

20          A     I mean, I'm not sure whether I know what it        15:37

21     is or not, since I don't --                                   15:37

22          Q     Well, you either know what it is or it isn't.      15:38

23                Do you know what Otto Trucking is?                 15:38

24          A     I suppose I do not.                                15:38

25          Q     Do you know what the business of Otto              15:38

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1      Trucking is?                                                       15:38

2           A   I suppose I do not.                                       15:38

3           Q   Okay.   Do you -- did you know that Otto                  15:38

4      Trucking is an entity that is completely separate from             15:38

5      Uber?                                                              15:38

6           A   I did not know that until you stated that.                15:38

7           Q   Did you know that Uber has no ownership                   15:38

8      interests in Otto Trucking?                                        15:38

9               MR. VAN NEST:     I'll object to the form.       Did      15:38

10     you say "an" or "no"?                                              15:38

11              MR. CHATTERJEE:     Q.   Did you know that Uber           15:38

12     has no ownership interest in Otto Trucking?                        15:38

13              MR. VAN NEST:     Object to form.                         15:38

14              THE WITNESS:    All right.     This seems like            15:38

15     something complicated that I don't know anything                   15:38

16     about.                                                             15:38

17              MR. CHATTERJEE:     Okay.                                 15:38

18          Q   Do you know why Otto Trucking is named as a               15:38

19     defendant in this case?                                            15:38

20              MR. VAN NEST:     Again, anything you learned             15:38

21     from lawyers is off limits.       Don't answer.                    15:38

22              If you have some independent knowledge,                   15:38

23     Mr. Page, go ahead and provide it.                                 15:38

24              THE WITNESS:    All right.     I don't know.              15:38

25              MR. CHATTERJEE:     Q.   Did Anthony Levandowski          15:39

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1      ever express concerns to you about the valuation of             15:39

2      Project Chauffeur?                                              15:39

3           A     I don't recall.                                      15:39

4           Q     You were aware that

                                            ; correct?                 15:39

6           A     I mean,



                                                                       15:39

9                 MR. CHATTERJEE:        Let's mark this as            15:39

10     Exhibit 1102.                                                   15:39

11                (Document marked Exhibit 1102                        15:39

12                 for identification.)                                15:39

13                MR. CHATTERJEE:        Can you pass these down?      15:39

14          Q     Mr. Page, what I've handed you, that's been          15:40

15     marked as Exhibit 1102, is a document dated                     15:40

16     September 23rd, 2015.                                           15:40

17                Have you ever seen this document before?             15:40

18          A     I mean, I don't -- I don't think so.                 15:40

19          Q     Okay.     All right.                                 15:40

20                Who is Don Harrison?                                 15:40

21          A     I mean, it says right here he's vice                 15:40

22     president of corporate development.                             15:40

23          Q     Do you know who he is?                               15:40

24          A     He is -- yeah, he's an executive for the             15:40

25     company.                                                        15:40

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1             Q   Okay.   Well, previously, I -- if I remember       15:40

2      correctly, you couldn't recall who was involved in

                                                       .             15:40

4                 Does this refresh your recollection at all as      15:40

5      to whether Mr. Harrison was involved?                         15:40

6             A   I mean, I don't recall.                            15:40

7             Q   Do you remember if




                                                                     15:41

17                MR. VAN NEST:     He's asking for your             15:41

18     recollection --                                               15:41

19                THE WITNESS:    No, I don't --                     15:41

20                MR. VAN NEST:     -- not what the document says.   15:41

21                THE WITNESS:    Yeah, I don't -- I don't           15:41

22     recall.                                                       15:41

23                MR. CHATTERJEE:     Okay.                          15:41

24            Q   Do you remember anyone expressing concern          15:41

25     that                                                  ?       15:41

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1          A



                              I mean, I don't...                     15:41

4          Q   My question is a little different then.      Let      15:41

5     me ask it a little more precisely.                             15:41

6              Do you remember




                                                                     15:42

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1          Q




                                                                    15:43

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1            A   Don't recall.                                          15:43

2            Q   Do you know if anyone took over for                    15:43

3      Mr. Harrison on




             ?                                                          15:44

9            A   I don't recall.                                        15:44

10           Q   So, is that a "no," or you just don't know?            15:44

11           A   I don't recall.                                        15:44

12               MR. VAN NEST:     He said he didn't recall.            15:44

13     That was his answer.                                             15:44

14               MR. CHATTERJEE:     Q.   Are you aware that            15:44

15     Google asked Anthony Levandowski to sign a noncompete            15:44

16     agreement in 2014?                                               15:44

17           A   No, I'm not aware of that or I don't recall            15:44

18     it.                                                              15:45

19           Q   Who is Astro Teller?                                   15:45

20           A   Astro is in charge of X.                               15:45

21           Q   And what does that mean, to be in charge of            15:45

22     X?                                                               15:45

23           A   Well, X is our -- kind of our division that            15:45

24     does various kinds of moonshot projects.             That's      15:45

25     widely known.                                                    15:45

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1           Q   And one other question:        Did you ever talk to     15:45

2      Sergey Brin about Anthony Levandowski?          Do you know if   15:45

3      you ever did that?                                               15:45

4           A   I mean, I imagine we discussed it at some               15:45

5      point.                                                           15:45

6           Q   Would you have exchanged e-mails or text                15:45

7      messages or instant messages?                                    15:45

8           A   Unlikely.   We generally just discuss.                  15:45

9           Q   Let's mark --                                           15:45

10          A   I guess we might e-mail also.                           15:45

11          Q   Did you search for those e-mails?                       15:45

12          A   I mean --                                               15:45

13              MR. VAN NEST:     Objection to form.                    15:45

14              THE WITNESS:    -- I mean, I have -- I assume           15:45

15     that there was a lot of discovery done.                          15:45

16              MR. CHATTERJEE:     Let's --                            15:46

17              THE WITNESS:    I think that's the job.                 15:46

18              MR. CHATTERJEE:     Okay.   I didn't mean to            15:46

19     interrupt.                                                       15:46

20              Let's mark this as 1103.                                15:46

21              (Document marked Exhibit 1103                           15:46

22               for identification.)                                   15:46

23              MR. CHATTERJEE:     Can you pass this around?           15:46

24              MR. VAN NEST:     Counsel, can I get a --               15:46

25              MR. CHATTERJEE:     Oh, I'm sorry.                      15:46

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1                 MR. VAN NEST:     Yeah.   Thank you.                  15:46

2                 MR. CHATTERJEE:     I thought I had an extra          15:46

3      copy.                                                            15:46

4             Q   The document I've handed you, marked as               15:46

5      Exhibit 1103, is an e-mail from Chris Urmson to Sergey           15:46

6      Brin and Astro Teller, dated October 24th, 2014.                 15:46

7                 Do you see that?                                      15:46

8             A   Yep.                                                  15:46

9             Q   I asked you before if you were aware of any           15:46

10     discussions in October of 2014, with Mr. Levandowski,            15:46

11     about




                                                                        15:46

16                Do you see that?                                      15:46

17            A   Yep.                                                  15:46

18            Q   Were you involved in any discussions in               15:46

19     October of 2014 about having Anthony leave the company           15:47

20     with                                             ?               15:47

21            A   I mean, I don't recall.       And I'm not -- you      15:47

22     know, I'm not on this e-mail.         It doesn't really          15:47

23     trigger any additional recollection there.                       15:47

24            Q   So, to the best of your recollection, you             15:47

25     weren't involved in that at all?                                 15:47

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1           A   I said I don't recall.                                   15:47

2           Q   Yeah.                                                    15:47

3               Do you have any understanding as to why                  15:47

4

                                ?                                        15:47

6               MR. VAN NEST:       Objection to form.                   15:47

7               THE WITNESS:    Yeah, I don't -- I don't recall          15:47

8      anything about that.                                              15:47

9               MR. CHATTERJEE:       Q.   Do you remember any           15:47

10                                    ?                                  15:47

11          A   I don't recall.       But, I mean, it's -- as I've       15:47

12     already testified, I mean, Chris and Anthony did not              15:47

13     get along well.                                                   15:47

14          Q   And, why didn't they get along well?                     15:47

15              MR. VAN NEST:       Objection to the form.               15:47

16              THE WITNESS:    I don't know.      I wish I knew         15:47

17     that question.                                                    15:48

18              MR. CHATTERJEE:       Q.   Did Mr. Urmson trust          15:48

19     Mr. Levandowski?                                                  15:48

20              MR. VAN NEST:       Again, objection to the form.        15:48

21              MR. CHATTERJEE:       Q.   Did you have any              15:48

22     understanding as to -- let me place it this way:            Did   15:48

23     Mr. Urmson ever express concerns to you that he didn't            15:48

24     trust Anthony Levandowski?                                        15:48

25          A   I don't think so.                                        15:48

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1           Q   Did anyone else at Waymo or Google express              15:48

2      concerns to you that they could not trust Anthony                15:48

3      Levandowski?                                                     15:48

4           A   Yeah, sorry.   Let me -- let me go back to the          15:48

5      previous one.                                                    15:48

6               I mean, I think there were generally a lot of           15:48

7      concerns about Anthony, and people's -- people were              15:48

8      definitely concerned about trusting him.            I don't      15:48

9      think Chris expressed that to me directly, but I think           15:48

10     I was aware of that generally.                                   15:48

11          Q   Who were the people that did?                           15:48

12          A   I can't recall.                                         15:48

13          Q   Was Mr. Thrun one of them?                              15:48

14          A   I can't recall.                                         15:48

15          Q   Was Mr. Salesky one of them?                            15:48

16          A   You know, I -- I don't recall.         I didn't have    15:49

17     that much contact with Mr. Salesky.                              15:49

18          Q   Do you remember referring to something as               15:49

19                                 ?                                    15:49

20          A   I mean, I don't remember that in the context            15:49

21     of this particularly.

                                                                        15:49

23              MR. CHATTERJEE:    There is a -- a document.            15:49

24     I'm going to -- I'm going to mark it as a new                    15:49

25     document, because I don't want to hunt through all the           15:49

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1      old ones.     In the interest of time, I'm going to mark        15:49

2      this as 1104.                                                   15:49

3               (Document marked Exhibit 1104                          15:49

4                  for identification.)                                15:49

5               MR. CHATTERJEE:    This is a document that             15:49

6      Mr. Gonzalez gave you before.                                   15:49

7               THE WITNESS:    This is one I saw already.             15:49

8               MR. CHATTERJEE:    Q.     And, in this document,       15:49

9



                            .                                          15:50

12              Do you see that?                                       15:50

13          A   Yeah.                                                  15:50

14          Q   Do you see how it says at the end

                        ?                                              15:50

16              Any idea what he's referring to there?                 15:50

17          A   I mean, I think that's just generally the              15:50

18                                         , in Valley terminology.    15:50

19          Q   So, it wasn't referring to any specific                15:50

20     nomenclature like that that was being used inside of            15:50

21     the Project Chauffeur team?                                     15:50

22          A   I mean, I don't know.       You're asking me to        15:50

23     interpret what I think.     I don't really know.     And I      15:50

24     was generally -- this e-mail is kind of crazy, I                15:50

25     think.                                                          15:50

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1           Q   Were -- were you ever aware of people                  15:50

2      referring to



                                  ?                                    15:50

5           A   Oh, I see.   I mean, I don't recall, but that          15:50

6      seems plausible.                                                15:50

7           Q   You don't recall anyone ever saying that?              15:50

8           A   Yeah, I don't know.     It's really hard to keep       15:50

9      thousands of code names straight also across lots of            15:51

10     companies.                                                      15:51

11          Q   Did you ever have a conversation with Astro            15:51

12     Teller expressing concerns about Anthony Levandowski            15:51

13     leaving and helping the competition?                            15:51

14          A   I mean, I remember, like, you know, thinking           15:51

15     Anthony is a significant person and, like, we should            15:51

16     try to -- try to retain him and make him productive,            15:51

17     if we can.                                                      15:51

18          Q   That was a different question than I asked.            15:51

19              Did you ever have a conversation with Astro            15:51

20     Teller expressing concern about Anthony Levandowski             15:51

21     leaving Google and helping the competition?                     15:51

22          A   I mean, I don't recall that.         But I'm -- I      15:51

23     mean, that's consistent with what I said before, what           15:51

24     I just said.                                                    15:51

25          Q   Do you remember having that --                         15:51

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1           A     It sounds consistent.                                   15:51

2           Q     Okay.   Did you ever have that kind of                  15:52

3      conversation in November of 2015?                                  15:52

4           A     I mean, it seems plausible.                             15:52

5           Q     When was the first time you recall Anthony              15:52

6      Levandowski talking to you about potentially leaving               15:52

7      Google?                                                            15:52

8           A     I mean, I don't think -- Anthony did not,               15:52

9      like, go and say, "Hi.      I'm going to leave Google.             15:52

10     See you later."      I mean, he was just always a bit              15:52

11     unhappy.     And generally, we can retain those people             15:52

12     for a while.                                                       15:52

13                But I also had very limited contact with him.           15:52

14     Like, you know, he's not a report of mine.           Generally,    15:52

15     advocating for him.                                                15:52

16          Q     Did you ever get him involved in other                  15:52

17     projects, other than Project Chauffeur at Google?                  15:52

18          A     I mean, I don't recall that.                            15:52

19          Q     So, you may or may not have.        You just don't      15:52

20     remember?                                                          15:52

21          A     Yeah.   I mean, I didn't spend a lot of time            15:52

22     with him or anything.                                              15:52

23          Q     Do you ever remember getting him involved in            15:52

24     meetings with other groups to help them getting                    15:52

25     products done?                                                     15:52

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1           A     That sounds very implausible.                         15:52

2           Q     Okay.   Why is it implausible?                        15:53

3           A     Well, I just testified, I had very limited            15:53

4      contact with him, and I just don't remember anything             15:53

5      like that.                                                       15:53

6           Q     Do you remember Chris Urmson ever saying to           15:53

7      people at Google that Anthony Levandowski needed to be           15:53

8      fired because he was trying to sell a group en masse             15:53

9      to Uber?                                                         15:53

10          A     No, I do not remember that.                           15:53

11                MR. CHATTERJEE:   Okay.     So, let's mark this       15:53

12     as 1105.                                                         15:53

13                (Document marked Exhibit 1105                         15:53

14                 for identification.)                                 15:53

15                MR. CHATTERJEE:   Mr. Page, the document I've         15:53

16     handed you is Document 1105.         It's a string of            15:53

17     e-mails.                                                         15:53

18          Q     But, there's an e-mail from Chris Urmson in           15:53

19     the middle, dated August 4th, 2015.          You see how it      15:54

20     starts:                                                          15:54

21




                                                                        15:54

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1               Do you see that?                                     15:54

2           A   Yeah.   And I'm not on this e-mail.                  15:54

3           Q   Do you have any reason to dispute that?              15:54

4               MR. VAN NEST:     Objection to the form of the       15:54

5      question.                                                     15:54

6               To dispute what?                                     15:54

7               MR. CHATTERJEE:     To dispute what Mr. Urmson       15:54

8      is saying in this e-mail.                                     15:54

9               MR. VAN NEST:     Object to the form.                15:54

10              THE WITNESS:    I mean, I believe this is an         15:54

11     e-mail that Chris wrote that I'm not copied on.               15:54

12              MR. CHATTERJEE:     Right.                           15:54

13          Q




                                                                     15:54

18          A   I mean, I don't remember when this happened          15:54

19     as compared to when -- when did he actually leave?            15:54

20          Q   This is August 4th, 2015, according to the           15:54

21     e-mail, if you look at it.                                    15:55

22          A   Yeah.   What date did he actually leave?             15:55

23          Q   He left in January of 2016.                          15:55

24          A   This was a long time before then.                    15:55

25              I remember there was -- you know, there was          15:55

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1      some concern.       I remember percolating up to me that            15:55

2      there was some concern about him doing some things,                 15:55

3      and then I think it then wasn't substantiated.             That's   15:55

4      what I remember.                                                    15:55

5             Q     And what was the concern expressed about him           15:55

6      doing some things?       What were those things?                    15:55

7             A     I mean, something like this, but I don't               15:55

8      remember the detail of that as it percolated up to me.              15:55

9             Q     Well, just to make sure, because you said you          15:55

10     hadn't seen this e-mail before, tell me what was told               15:55

11     to you as what the concern was.                                     15:55

12            A     I mean, so this is not sort of something new.          15:55

13     There was always concern.       You know, people would say,         15:55

14     Oh, Anthony is doing this.        Anthony is doing that.            15:55

15            Q     What is the "this" and "that"?                         15:55

16            A     Something they didn't like.                            15:55

17                  But remember, these people also didn't like            15:55

18     each other very well, and so they tended to say that a              15:56

19     lot.       This had been going on for a while.        So, that's    15:56

20     kind of my level of recollection about this.                        15:56

21                  That's -- that's kind of -- Hanke was there            15:56

22     and, you know, maybe it turned out to be more true,                 15:56

23     but we didn't know that at the time.            At least, I         15:56

24     didn't know that at the time.                                       15:56

25            Q     I just want to get a little more granular.             15:56

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1      When you used the word "this" and "that," I'm trying           15:56

2      to understand:       What were the complaints that people      15:56

3      were raising specifically, as best you know?                   15:56

4           A     I can't recollect that.       But, I mean...        15:56

5           Q     But you were aware sometime in -- in 2015,          15:56

6      that people were complaining that Anthony might be             15:56

7      trying to take a group of people to Uber?                      15:56

8           A     No, no.                                             15:56

9                 MR. VAN NEST:     Object to the form of the         15:56

10     question.                                                      15:56

11                THE WITNESS:    Again, as I've already stated,      15:56

12     I wasn't aware of, like -- definitely was not aware            15:56

13     that that was a significantly likely thing in August           15:56

14     of 2015.                                                       15:56

15                MR. CHATTERJEE:     Q.   Were you aware of people   15:56

16     making those kinds, of accusations?                            15:56

17          A     Not those kind of accusations, but general          15:57

18     accusations about his character and his general                15:57

19     ethics.                                                        15:57

20          Q     And what were the accusation about his              15:57

21     general ethics?                                                15:57

22          A     I don't remember the details of it, but more        15:57

23     of those kind of flavor.                                       15:57

24          Q     Did you trust him?                                  15:57

25          A     Oh, I mean, obviously, too much, I guess.           15:57

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1           Q     Well, did you trust him?                             15:57

2           A     To an extent.     I think, like, he was -- to        15:57

3      me, he seemed like he was likely to be somewhat                 15:57

4      trustworthy as long as he felt he was getting what he           15:57

5      needed.     But, I think in retrospect, that was not            15:57

6      correct.                                                        15:57

7           Q     But many people had told you that they didn't        15:57

8      think he was trustworthy; right?                                15:57

9           A     Yeah.   I guess I should have listened to            15:57

10     those people.                                                   15:57

11          Q     And, was part of the reason that his role in         15:57

12     Project Chauffeur was reduced over time was because of          15:57

13     those issues?                                                   15:57

14          A     I don't know.     That's hard to know, I guess.      15:57

15     I -- you know, I wasn't involved in that directly.              15:58

16          Q     Who would know?                                      15:58

17          A     I assume people who have had more contact            15:58

18     with him.                                                       15:58

19          Q     Can you give me some names?                          15:58

20          A     Chris is probably who had the most contact           15:58

21     with him.                                                       15:58

22          Q     What about Mr. Thrun or Mr. Salesky?                 15:58

23          A     Yeah, I mean, I'd probably say Chris had by          15:58

24     far the most contact with him during recent history.            15:58

25                MR. CHATTERJEE:     I do need to take a break        15:58

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1      after this because I'm out of little stickers.                    15:58

2                Oh, good.                                               15:58

3                MR. VAN NEST:     Problem solved.                       15:58

4                MR. CHATTERJEE:     Problem solved.        They're      15:58

5      always a step ahead of me.                                        15:59

6                (Document marked Exhibit 1106                           15:59

7                 for identification.)                                   15:59

8                MR. CHATTERJEE:     This is a document that's           15:59

9      been marked as 1106.                                              15:59

10          Q    So, Mr. Page, what I've handed you as                   15:59

11     document number -- Exhibit 1106 -- this is an e-mail              15:59

12     that's dated January 27th, 2016.                                  15:59

13               And, I'll represent to you that the previous            15:59

14     day is the day that Anthony Levandowski had told you              15:59

15     he was resigning.     If you actually look at the bottom          15:59

16     of the e-mail, you say:                                           15:59

17                                                                       15:59

18               Do you see that?                                        15:59

19          A    Yep.                                                    15:59

20          Q    Okay.   Now, in the -- have you seen this               15:59

21     e-mail before?                                                    15:59

22          A    I mean, I'm CCed on this e-mail.                        15:59

23          Q    Okay.   How recently have you seen this                 15:59

24     e-mail?                                                           15:59

25          A    Very, very recently, and not since then.                15:59

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1             Q   Okay.   If you look on this e-mail, in the         15:59

2      second, I'll call it, cell of the string, there is an         16:00

3      e-mail from John Krafcik.                                     16:00

4                 Do you see that?                                   16:00

5             A   Yep.                                               16:00

6             Q   And, you were on this string; right?               16:00

7             A   It's kind of hard to --                            16:00

8             Q   You can see at the top that you're CCed on         16:00

9      it?                                                           16:00

10            A   Yeah.                                              16:00

11            Q   And you see on that paragraph, he says:            16:00

12                "We believe" --                                    16:00

13                The very last paragraph says:                      16:00

14



                                                                     16:00

17                Do you see that?                                   16:00

18            A   Yeah.                                              16:00

19            Q   Do you remember reading that statement?            16:00

20            A   I don't remember reading that statement.           16:00

21     But, I mean...                                                16:00

22            Q   Do you remember being concerned about that at      16:00

23     all?                                                          16:00

24            A   I mean, I don't think it's, like, a great          16:00

25     thing, but it also is not inherently illegal                  16:00

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1      necessarily.                                                   16:01

2           Q    Are you aware that Google's accusation today         16:01

3      is that six weeks before this e-mail, before                   16:01

4      Mr. Levandowski resigned, he's accused of having               16:01

5      downloaded an extensive volume of information from             16:01

6      Google?                                                        16:01

7                MR. VAN NEST:     To the extent he's asking          16:01

8      about allegations, to the extent you learned them from         16:01

9      a lawyer --                                                    16:01

10               THE WITNESS:    Yeah.                                16:01

11               MR. VAN NEST:     -- I'm instructing you not to      16:01

12     answer.                                                        16:01

13               THE WITNESS:    I mean --                            16:01

14               MR. VAN NEST:     If you have independent            16:01

15     knowledge, you can state it.                                   16:01

16               THE WITNESS:    Yeah, I don't have any               16:01

17     independent knowledge.       I've read that in the press,      16:01

18     certainly.                                                     16:01

19               MR. CHATTERJEE:     All right.                       16:01

20          Q    Did you -- were you aware of it at the time?         16:01

21          A    No, I was not aware of it at the time.               16:01

22          Q    Were -- were you aware that there were               16:01

23     concerns that Mr. Levandowski was trying to recruit            16:01

24     people to go to this new entity from Google?                   16:01

25          A    I mean, again, I sort of -- I testified              16:01

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1      already I was kind of aware of general concerns about           16:01

2      these kind of things.      I don't think I was, like --         16:01

3      certainly not aware of all the detail around that               16:02

4      that's come out in the press and so on.                         16:02

5           Q     And, if you'd go to one paragraph earlier            16:02

6      than the line I just read you.         It says:                 16:02

7




                                                                       16:02

12                Do you see that?                                     16:02

13          A     Yeah, sure.                                          16:02

14          Q     Did you make retention calls to try and make         16:02

15     sure people stayed at Project Chauffeur?                        16:02

16          A     I don't think so.    But, I mean, I don't            16:02

17     routinely do that, so --                                        16:02

18          Q     But you were aware, as of January 27th, 2016,        16:02

19     that people at -- on the Chauffeur team believed that           16:02

20     Anthony Levandowski was trying to recruit as many as            16:02

21     dozens of people from the team; right?                          16:02

22          A     I don't know.   I mean, I got this e-mail.           16:03

23     Like, I don't know that that means it's all true.         And   16:03

24     there was a lot of emotion around, like, the day after          16:03

25     he left.                                                        16:03

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1            Q    You're aware that -- that the head of the          16:03

2      group was telling you this; right?                            16:03

3            A    I mean, I got this e-mail, yeah.                   16:03

4            Q    Did you express any concern in response to         16:03

5      it?                                                           16:03

6            A    I mean, we were obviously concerned about          16:03

7      this.     I mean, that's resulted in these proceedings.       16:03

8            Q    Do you recall being concerned about it?            16:03

9            A    Yeah, I was pretty concerned about all this.       16:03

10           Q    Okay.   What did you do?                           16:03

11           A    Well, I delegated it to people to look at it.      16:03

12           Q    Who?                                               16:03

13           A    John.                                              16:03

14           Q    Anyone else?                                       16:03

15           A    Don't recall.                                      16:03

16           Q    Did you take any action yourself?                  16:03

17           A    I just told you what action I took.                16:03

18           Q    Other than delegating?                             16:03

19           A    Don't think so.                                    16:03

20           Q    Were you aware that the day Anthony                16:04

21     Levandowski left Google, he said he was going to              16:04

22     either join Kitty Hawk or form an autonomous trucking         16:04

23     company?                                                      16:04

24           A    No, I'm not aware of that.                         16:04

25           Q    Okay.   Are you aware that he told that to         16:04

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1      your HR group?                                                  16:04

2           A     I don't think so.                                    16:04

3           Q     Would it have been an important thing for you        16:04

4      to know?                                                        16:04

5                 MR. VAN NEST:     Object to the form of the          16:04

6      question.                                                       16:04

7                 THE WITNESS:    I mean, I don't know.                16:04

8                 MR. CHATTERJEE:     Q.   Who is Chelsea Bailey?      16:05

9           A     I don't know.                                        16:05

10                (Document marked Exhibit 1111                        16:05

11                 for identification.)                                16:05

12                MR. CHATTERJEE:     Document marked as               16:05

13     Exhibit 1111.      This is a document -- Exhibit 1111 is a      16:05

14     document, dated April 1st, 2016.                                16:05

15          Q     Do you see that?                                     16:05

16          A     Yeah.                                                16:05

17          Q     And -- and do you see in the second line, it         16:05

18     says:                                                           16:06

19

                                                                       16:06

21          A     Sorry, I don't see that.       Oh, on the top;       16:06

22     okay.                                                           16:06

23          Q     Second line.                                         16:06

24          A     Okay.                                                16:06

25          Q     Do you see that?                                     16:06

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1               Are you aware, after Anthony Levandowski left        16:06

2      and up through, let's say, the middle of April of             16:06

3      2016,

                                                            ?        16:06

5               MR. VAN NEST:     Again, exclude from your           16:06

6      answer, Mr. Page, anything you learned from a lawyer.         16:06

7               Other than that, you can answer.                     16:06

8               THE WITNESS:    Yeah, I don't have any               16:06

9      particular knowledge about that.                              16:06

10              MR. CHATTERJEE:     Q.    Did Mr. Krafcik ever       16:06

11     talk to you about



                 ?                                                   16:06

14          A   Don't recall anything like that.                     16:06

15          Q   Do you know when the second bonus payment was        16:07

16     paid to Anthony Levandowski?                                  16:07

17          A   No, I don't recall.                                  16:07

18              (Document marked Exhibit 1110                        16:07

19               for identification.)                                16:07

20              MR. CHATTERJEE:     I'll mark this as 1110.          16:07

21              THE WITNESS:    Thanks.                              16:07

22              MR. VAN NEST:     Big table.                         16:07

23              MR. CHATTERJEE:     What I've handed you,            16:07

24     Mr. Page, is a -- is a document, dated February 18th,         16:07

25     2016, from Chelsea Bailey to Ming Su and David Jen.           16:07

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1           Q      Who is Ming Su?     Do you know?                          16:07

2           A      I don't -- I don't know.                                  16:07

3           Q      Do you know who David Jen is?                             16:07

4           A      David Jen?                                                16:08

5           Q      David Jen.     My apologies.                              16:08

6           A      No, I don't know who that is.                             16:08

7           Q      If you notice, there are three bullet points              16:08

8      on there.      And it says:                                           16:08

9                  "Anthony Levandowski:                        ."           16:08

10                 Do you see that?                                          16:08

11          A      Yeah, sure.                                               16:08

12          Q      And the payment date is 7/28/2016.                        16:08

13                 Do you see that?                                          16:08

14          A      Okay.                                                     16:08

15          Q      Okay.   So, do you know if that payment was               16:08

16     made on 7/28/2016?                                                    16:08

17          A      No, I don't know.     I do not know.                      16:08

18          Q      I'll represent to you that it was.          And that      16:08

19     was after Mr. Krafcik said

                and after people had expressed to you he had                 16:08

21     tried to recruit a whole bunch of people; right?                      16:08

22                 MR. VAN NEST:     Objection to the form of the            16:08

23     question.                                                             16:08

24                 THE WITNESS:     I mean, I believe that was done          16:08

25     on July 28th.                                                         16:08

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1               MR. CHATTERJEE:     Q.   And -- well, it was         16:08

2      after those other concerns were expressed; right?             16:08

3           A   What's -- what's your question?                      16:09

4           Q   Did you ever try and stop that payment from          16:09

5      happening?                                                    16:09

6           A   Well, I mean, I'm not listed on any of this          16:09

7      information.                                                  16:09

8           Q   But you --                                           16:09

9           A   So it seems like it might have been a little         16:09

10     difficult.                                                    16:09

11          Q   So, you --                                           16:09

12          A   I have no -- no knowledge of whether that            16:09

13     payment was required anyways or -- I don't know.              16:09

14          Q   Well --                                              16:09

15          A   Why would I stop the payment, I guess?               16:09

16          Q   Did -- did you ever see a need to try and            16:09

17     stop the payment?                                             16:09

18          A   I guess --                                           16:09

19              MR. VAN NEST:     Object to the form.                16:09

20              You may answer.                                      16:09

21              THE WITNESS:    Did I ever see a need?     I         16:09

22     wasn't just thinking about this particular issue in           16:09

23     the context of running a pretty large company.                16:09

24              But I -- I guess if I had known about it, I          16:09

25     might have considered stopping it if that were                16:09

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1      possible, which I have no knowledge of whether that's            16:09

2      possible or not.                                                 16:09

3                MR. CHATTERJEE:     Q.   Do you know who               16:09

4      authorized the payment of                    in July 28, 2016?   16:09

5            A   I mean, I've already testified, I have no              16:10

6      knowledge of this.                                               16:10

7            Q   No, I'm wondering if you know who authorized           16:10

8      it.                                                              16:10

9                If it wasn't you, who would have made that             16:10

10     decision?                                                        16:10

11           A   No, I did not know.                                    16:10

12           Q   Do you know why Anthony Levandowski was not            16:10

13     sued for trade secret misappropriation?                          16:10

14               MR. VAN NEST:     Objection.                           16:10

15               To the extent your knowledge comes from a              16:10

16     lawyer, don't answer the question.                               16:10

17               If you have some independent knowledge, you            16:10

18     can provide it.                                                  16:10

19               THE WITNESS:    Yeah, I don't have any                 16:10

20     independent knowledge of that.                                   16:10

21               MR. CHATTERJEE:     Q.   Did you know that he          16:10

22     wasn't sued for trade secret misappropriation?                   16:10

23           A   No.   I'm afraid I don't know the details of           16:10

24     all that.                                                        16:10

25           Q   So, you don't know one way or another whether          16:10

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1      he's been sued for trade secret misappropriation?                   16:10

2                 MR. VAN NEST:     Object to the form of the              16:10

3      question.     It's argumentative.                                   16:10

4                 THE WITNESS:    I mean, I've already testified           16:10

5      I didn't know.                                                      16:10

6                 MR. CHATTERJEE:     Your answer was actually             16:10

7      unclear.                                                            16:10

8           Q     You don't know one way or the other whether              16:10

9      Mr. Levandowski has been sued for trade secret                      16:10

10     misappropriation; right?                                            16:10

11          A     Yeah, that seems like that means I don't                 16:11

12     know.                                                               16:11

13          Q     So, you don't know?                                      16:11

14          A     I already stated that twice.                             16:11

15          Q     Well, the way you answered the question, it's            16:11

16     not clear whether you don't understand my question.                 16:11

17          A     Okay.                                                    16:11

18                MR. VAN NEST:     Counsel, this is far afield            16:11

19     from anything that Judge Alsup authorized.            You have      16:11

20     my CEO here.       Let's stick with knowledge and facts and         16:11

21     not argument, please.                                               16:11

22                MR. CHATTERJEE:     I'm just trying to                   16:11

23     understand his answer, Mr. Van Nest.                                16:11

24                MR. VAN NEST:     No.   This is an argumentative         16:11

25     line.    You have the CEO here.       You have limited time.        16:11

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1               MR. CHATTERJEE:     I do.   Stop -- you can stop         16:11

2      using it up, Mr. Van Nest.                                        16:11

3           Q   Do you know, one way or another, whether                 16:11

4      Mr. Levandowski has been sued for trade secret                    16:11

5      misappropriation?                                                 16:11

6               MR. VAN NEST:     Again, objection.        That has      16:11

7      nothing to do with anything you are authorized to ask             16:11

8      about.   I'll object to the form.       He's answered it          16:11

9      three times now.                                                  16:11

10              THE WITNESS:    No, I said I don't know.                 16:11

11              MR. CHATTERJEE:     Q.   Do you know why



                 ?                                                       16:11

14              MR. VAN NEST:     Again, if any information you          16:11

15     have comes from a lawyer, don't provide it.                       16:12

16              THE WITNESS:    I don't know.                            16:12

17              MR. CHATTERJEE:     Q.   You don't know?                 16:12

18          A   (Witness shakes head.)                                   16:12

19          Q   Do you know the way that Google typically                16:12

20     retains things, like source code materials and design             16:12

21     specifications, and things like that?                             16:12

22              MR. VAN NEST:     I'll object to the form.               16:12

23              But you may answer.                                      16:12

24              THE WITNESS:    Yeah, I'm not that familiar              16:12

25     with how we do that.                                              16:12

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1                MR. CHATTERJEE:     Q.     Is there an online           16:12

2      repository, or do -- do you even know that?                       16:12

3           A    I mean, there's some code-based repository              16:12

4      thingy.                                                           16:12

5           Q    And, is it a Google specially designed                  16:12

6      repository, or is it some other industry standard one?            16:12

7           A    I mean, that is -- that -- I mean, we use               16:12

8      many different things.                                            16:12

9           Q    Right.                                                  16:12

10               I'm just asking if you know?                            16:12

11          A    We use many different things.         I guess you       16:12

12     need a more specific --                                           16:12

13          Q    Do you know if Google uses Subversion,                  16:12

14     typically?                                                        16:13

15          A    I don't know.                                           16:13

16          Q    Are you familiar with how Subversion works?             16:13

17          A    No, I'm not that familiar with it.                      16:13

18          Q    Okay.    Do you know how many people have made          16:13

19     $100 million from work they've done at Google?                    16:13

20          A    No, I don't know.                                       16:13

21          Q    Can you give me an estimate?                            16:13

22          A    I might say, you know, a fairly significant             16:13

23     number of people.                                                 16:13

24               MR. CHATTERJEE:     How are we doing on time?           16:13

25               THE VIDEOGRAPHER:        3 hours and 34 minutes on      16:13

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1      the record, Counsel.                                             16:13

2               MR. CHATTERJEE:     Q.   Do you know how many           16:13

3      people reported to Anthony Levandowski?                          16:13

4           A   No, I don't know.                                       16:13

5           Q   Are you happy that Anthony Levandowski was              16:14

6      fired by Uber?                                                   16:14

7               MR. VAN NEST:     Objection to the form of the          16:14

8      question.                                                        16:14

9               THE WITNESS:     Am I happy?                            16:14

10              MR. VAN NEST:     It's got absolutely no                16:14

11     relevance.   Counsel, again, you're wasting our time.            16:14

12     We have four hours.      I object to the form of the             16:14

13     question.                                                        16:14

14              If you have an opinion, you can answer.                 16:14

15              THE WITNESS:     I mean, I'm generally pretty           16:14

16     sad about the situation.                                         16:14

17              MR. CHATTERJEE:     Q.   Why?                           16:14

18              MR. VAN NEST:     Again, object to the form.            16:14

19     These aren't fact questions that are likely to lead to           16:14

20     anything discoverable whatsoever.                                16:14

21              MR. CHATTERJEE:     Q.   So, go ahead and answer.       16:14

22     He didn't instruct you not to answer.                            16:14

23          A   Sorry?                                                  16:14

24          Q   You said you're pretty sad about the                    16:14

25     situation.   I asked why.     He made an objection.      So go   16:14

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1      ahead and answer.                                                 16:15

2           A   I mean, I think it's a tough situation.           It's   16:15

3      been, I don't know, 18 years or something we've had               16:15

4      the company, and this is the first time we're in a                16:15

5      situation like this.                                              16:15

6           Q   Can you identify a single trade secret that              16:15

7      Anthony Levandowski took?                                         16:15

8               MR. VAN NEST:     Again, to the extent your              16:15

9      answer would depend on a communication with a lawyer,             16:15

10     I instruct you not to answer it.                                  16:15

11              If you have some independent knowledge, you              16:15

12     may provide it.                                                   16:15

13              THE WITNESS:    Yeah, I mean, I think there's a          16:15

14     number of things at issue.         I'm not familiar with the      16:15

15     details of it.                                                    16:15

16              MR. CHATTERJEE:     Q.     Have you reviewed the         16:15

17     trade secret disclosure at all?                                   16:15

18          A   I don't think so.                                        16:15

19          Q   Was your phone imaged for this case?                     16:15

20          A   I'm not sure.                                            16:15

21              MR. CHATTERJEE:     All right.     Let's take a          16:15

22     quick break.                                                      16:15

23              THE VIDEOGRAPHER:        We are off the record at        16:15

24     4:16 p.m.                                                         16:15

25              (Recess taken.)                                          16:15

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1               THE VIDEOGRAPHER:    We are back on the record             16:17

2      at 4:28 p.m.                                                        16:28

3                                                                          16:28

4                          FURTHER EXAMINATION                             16:28

5      BY MR. GONZALEZ:                                                    16:28

6           Q   Mr. Page, let me show you a document that                  16:28

7      we've marked as Exhibit 1108.                                       16:28

8           A   Thank you.                                                 16:28

9               (Document marked Exhibit 1108                              16:28

10                 for identification.)                                    16:28

11              MR. GONZALEZ:    For the record, 1108 is a                 16:28

12     one-page e-mail, WAYMO '11773.       This is an e-mail from         16:28

13     Mr. Salesky to Mr. Levandowski, January 23, 2016.                   16:28

14          Q   And he says:                                               16:28

15              "Chris and I think would be great roles for                16:28

16     you."                                                               16:28

17              And he lists three things.        I just want you          16:28

18     to look at those three things, 1, 2, 3.             And I want      16:28

19     your opinion as to whether or not you agree that, at                16:29

20     the time, that would have been a great role for                     16:29

21     Anthony Levandowski?                                                16:29

22              MR. VAN NEST:    Take a moment to review the               16:29

23     document.                                                           16:29

24              THE WITNESS:    This is, like, right before he             16:29

25     left?                                                               16:29

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1               MR. GONZALEZ:    Correct.                              16:29

2               THE WITNESS:    All right.                             16:29

3               (Reading document.)                                    16:29

4               Sorry.    I forget the question now, now that          16:29

5      I've read it.                                                   16:29

6               MR. GONZALEZ:    Q.   The question is whether          16:29

7      you agree with Chris and Mr. Salesky, that these three          16:29

8      items would have been good for assignments for                  16:29

9      Mr. Levandowski?                                                16:29

10              MR. VAN NEST:    Object to the form of the             16:29

11     question.                                                       16:29

12              You can answer it.                                     16:29

13              MR. GONZALEZ:    Let me rephrase it.                   16:29

14          Q   Looking at points 1, 2, and 3, do you believe          16:29

15     that, in January of 2016, these would have been good            16:29

16     assignments for Mr. Levandowski?                                16:29

17          A   I guess in what context?       For him or for us       16:30

18     or for...                                                       16:30

19          Q   For him to do within Project Chauffeur.                16:30

20          A   I guess my analysis of this having -- this is          16:30

21     not exactly answering your question.          But my analysis   16:30

22     of this, understanding the dynamics, is they're trying          16:30

23     to get him to do something that he's not likely going           16:30

24     to want to do.     And, I'm sure if he were excited about       16:30

25     this, it would be helpful.                                      16:30

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1           Q   Do you think that Mr. Levandowski's skill set          16:30

2      would have made him a good candidate for these                  16:30

3      three items?                                                    16:30

4           A   I mean, these are all, you know, somewhat              16:30

5      related to things he knows about.        So, I think if he      16:30

6      were excited about it, he could do -- if he were                16:30

7      excited about it, I'm sure he could do a good job on            16:31

8      those kind of things, probably.        But I doubt he would     16:31

9      be excited about it.                                            16:31

10              (Document marked Exhibit 1107                          16:31

11               for identification.)                                  16:31

12              MR. GONZALEZ:   Let me show you a document             16:31

13     that we marked as Exhibit 1107.                                 16:31

14          Q   You're familiar with the letter that you               16:31

15     issued in connection with your IPO?                             16:31

16          A   The 2004 founders letter?                              16:31

17          Q   Yes.                                                   16:31

18          A   (Witness nods head.)                                   16:31

19          Q   And that's what this is?                               16:31

20          A   I haven't read the whole thing, but I assume           16:31

21     it is, if you're representing that.                             16:31

22          Q   Right.                                                 16:31

23              Is that your electronic signature there?               16:31

24          A   It looks like it, yeah.       Thank you.               16:31

25          Q   And, if you'll look at the fourth page.                16:31

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1                 MR. VAN NEST:    What's it say at the top,           16:32

2      Counsel?                                                        16:32

3                 THE WITNESS:    It says page --                      16:32

4                 MR. GONZALEZ:    Page '414.                          16:32

5                 THE WITNESS:    (Complies.)                          16:32

6                 Okay.                                                16:32

7                 MR. VAN NEST:    Okay.   Thank you.                  16:32

8                 MR. GONZALEZ:    Q.   It says in part, second        16:32

9      paragraph from the bottom:                                      16:32

10                "We encourage our employees, in addition to          16:32

11     their regular projects, to spend 20 percent of their            16:32

12     time working on what they think will most benefit               16:32

13     Google."                                                        16:32

14                Do you see that?                                     16:32

15          A     Yeah, sure.                                          16:32

16          Q     That was intended to get people to be                16:32

17     creative in what they were doing?                               16:32

18          A     Yeah, and work on things that can help the           16:32

19     company.                                                        16:32

20          Q     And that's something that's been the policy          16:32

21     of the company ever since it was formed?                        16:32

22          A     I mean, there's -- in varying ways, I think,         16:32

23     like, people get upset about it sometimes when                  16:32

24     managers do different things.         But I think in general,   16:32

25     we like this idea still.                                        16:32

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1           Q     The idea is to get people to think outside of         16:32

2      the box?                                                         16:32

3           A     To work on things they're passionate about            16:32

4      that can help the company.                                       16:33

5           Q     Do you think Anthony did that?                        16:33

6                 MR. VAN NEST:    Objection to the form of the         16:33

7      question.                                                        16:33

8                 THE WITNESS:    Yeah, in what sense?                  16:33

9                 MR. GONZALEZ:    Q.   Do you think that he            16:33

10     worked on projects, such as yours, because he was --             16:33

11          A     Well, that's not the point of the 20 percent.         16:33

12     The 20 percent -- it says to benefit Google.          So, I      16:33

13     mean, that's just a different thing.                             16:33

14          Q     Did you think that his work on




                                                                        16:33

18          Q     You said that some people don't like the              16:33

19     policy.                                                          16:33

20                What do you mean by that?                             16:33

21          A     I mean, sometimes -- but, I mean, the                 16:33

22     managers and stuff obviously sometimes get upset about           16:33

23     this.     But I think in general, it's a good thing.             16:33

24          Q     When you say "the managers get upset," that's         16:33

25     because they want 100 percent of their employees'                16:33

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1      time?                                                            16:33

2           A   Yeah.                                                   16:33

3           Q   Have you personally conducted any search for            16:33

4      documents that might be relevant in this litigation?             16:33

5           A   I mean, generally, we have people that do               16:34

6      discovery.    I was asked about phone records.       And I --    16:34

7      you know, I represented I don't recall any text                  16:34

8      messages with certain people.                                    16:34

9           Q   How often do you delete text messages from              16:34

10     your phone?                                                      16:34

11          A   I don't recall having deleted any.                      16:34

12          Q   What forms of communication do you use, other           16:34

13     than standard e-mail and text messages?                          16:34

14              MR. VAN NEST:    Objection to the form of the           16:34

15     question; assumes facts not in evidence.                         16:34

16              THE WITNESS:    I mean, I typically talk to             16:34

17     people and e-mail them, text them.         So, I think that      16:34

18     was well covered in discovery.       I don't think there         16:34

19     are other methods.                                               16:34

20              MR. GONZALEZ:    Q.   In the Silicon Valley,            16:34

21     would you agree that it's common to recruit employees            16:34

22     from other companies?                                            16:34

23          A   I mean, normally, you hire people who are               16:34

24     working somewhere else.                                          16:34

25          Q   And that includes hiring people from                    16:34

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1      competitors; true?                                            16:34

2           A   Yes.                                                 16:34

3           Q   That's something that Google does on a               16:35

4      regular basis; correct?                                       16:35

5               MR. VAN NEST:    Objection to the form.              16:35

6               THE WITNESS:    I mean, we definitely hire           16:35

7      people from other companies who may or may not be             16:35

8      competitors.                                                  16:35

9               MR. GONZALEZ:    Q.   And you've approved of the     16:35

10     hiring of people from your competitors; true?                 16:35

11          A   I don't recall particularly.                         16:35

12          Q   But you've hired some people from Uber;              16:35

13     haven't you?                                                  16:35

14          A   I mean, me personally or the company?                16:35

15          Q   The company.                                         16:35

16          A   I assume the company has hired a number of           16:35

17     people from Uber.                                             16:35

18          Q   And the company has hired people from Tesla?         16:35

19          A   I assume so, yeah.                                   16:35

20          Q   Let me show you a document that was                  16:35

21     previously marked as Exhibit 1031.         1031, for the      16:35

22     record, has Bates stamp Nos. WAYMO '4175 through              16:36

23     '4193.                                                        16:36

24              Sir, I note you're flipping through the              16:36

25     document, which is fine.                                      16:36

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1               Have you seen Exhibit 1031 before?                   16:36

2           A   I'm not sure.                                        16:36

3           Q   It says                                .             16:36

4               What -- what is your understanding of what           16:36

5                         is?                                        16:36

6           A   I think




                                                                     16:37

23          Q   Do you know who prepared Exhibit 1031?               16:37

24          A   No, I don't have a -- I don't know.                  16:37

25          Q   Are these types of documents, when you're            16:37

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1




                                                                     16:38

14          Q   If you'll turn to page 12 of the PowerPoint.         16:38

15     It has page '186 in the little numbers on the bottom          16:38

16     right.                                                        16:38

17          A   (Witness complies.)                                  16:38

18              Okay.                                                16:38

19          Q   It says -- the heading is:                           16:39

20

                                                                     16:39

22              Then it has a subheading that says:                  16:39

23

                                                                     16:39

25              Do you see that?                                     16:39

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1           A   I mean, I can read the slides, yeah.                 16:39

2           Q   Is that the plan?                                    16:39

3           A   No, I don't think so.      But, I mean, I            16:39

4      didn't -- I mean, I've already said I'm not really            16:39

5      familiar with this document.      I can read the whole        16:39

6      document if you'd like.      But you're taking --             16:39

7           Q   Well --                                              16:39

8           A   -- one page out of context, potentially.             16:39

9           Q   -- I -- I don't want to kill all my time.       On   16:39

10     the other hand, I'd like to know whether you read it.         16:39

11     So, if it would help you to look through the rest of          16:39

12     the document, please take a moment and flip through           16:39

13     the rest of the document to see if it refreshes your          16:39

14     recollection of whether you have reviewed this before         16:39

15     I showed it to you today.                                     16:39

16          A   I mean, you know, my interpretation of this,         16:39

17     with limited context, they're just saying that




                                                                     16:40

22              MR. VAN NEST:    Mr. Page, he asked you whether      16:40

23     you thought you had read this back in the day.       Do you   16:40

24     know?                                                         16:40

25              THE WITNESS:    No, I don't know whether I read      16:40

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1      it or not.                                                    16:40

2                MR. GONZALEZ:   All right.                          16:40

3           Q    Looking at the document today, when you see         16:40

4      the phrase

                                               what do you           16:40

6      understand that to mean?                                      16:40

7           A    Well, I mean, they're saying, like --




                                                                     16:40

13          Q    By the way, there isn't any question in your        16:41

14     mind that at least as of this date when this document         16:41

15     is being prepared and circulated within Google, that          16:41

16     you are now competing with Uber; is that right?               16:41

17          A    I'm not -- I mean, I think -- I think Uber is       16:41

18     definitely a competitor of -- for self-driving cars.          16:41

19     I think they have very big business, which is                 16:41

20     different than what we do.       And, I think history will    16:41

21     tell.    I don't -- I don't fully know the answer to          16:41

22     that question.                                                16:41

23          Q    In your mind, when did Uber become your             16:41

24     competitor for self-driving cars?                             16:41

25               When did -- when did the two of you become          16:41

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1      competitors in that field?                                            16:41

2               MR. VAN NEST:    I think it was asked and                    16:41

3      answered --                                                           16:41

4               THE WITNESS:    Yeah, I was going to say --                  16:41

5               MR. VAN NEST:    -- earlier today.         So, I'll          16:41

6      object to the form.                                                   16:41

7               I -- I think you can answer it again,                        16:41

8      Mr. Page, if you have a different answer.                             16:41

9               MR. GONZALEZ:    Well --                                     16:41

10              THE WITNESS:    Yeah, and I already kind of                  16:41

11     just said the opposite.     It's that I'm not sure.            I      16:41

12     mean, I think it's a complicated set of issues.                       16:41

13              MR. GONZALEZ:    Right.                                      16:42

14          Q   You said Uber started competing with you?                    16:42

15          A   Yeah.                                                        16:42

16          Q   All right.                                                   16:42

17              When it talks here about




                                                                             16:42

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1                                                                    16:42

2           Q   Right.                                               16:42

3           A   So --                                                16:42

4           Q   Can you and I agree that, when they're               16:42

5      talking here about




                                                                     16:43

20              MR. VAN NEST:   I'm going to object to the           16:43

21     form of the question, Counsel.       He doesn't believe       16:43

22     he's seen this before.     He didn't author it.     And       16:43

23     you're spending a lot of time on something that the           16:43

24     witness has not seen before, as far as he knows, so --        16:43

25              MR. GONZALEZ:   Well, he said he doesn't             16:43

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1      remember.                                                        16:43

2                   MR. VAN NEST:    I'll object to the form.           16:43

3                   Huh?                                                16:43

4                   MR. GONZALEZ:    He doesn't -- he doesn't           16:43

5      remember if he has seen it.                                      16:43

6                   MR. VAN NEST:    Do you have any different          16:43

7      answer, Mr. Page?                                                16:43

8                   THE WITNESS:    I mean, I already kind of gave      16:43

9      my interpretation of that.          But I can spend more time    16:43

10     on the document, if you'd like.                                  16:43

11                  MR. GONZALEZ:    Here's the distinction that        16:43

12     I'm trying to draw.                                              16:43

13          Q       You said that, at some point, Uber became a         16:43

14     competitor because of something that Uber did in                 16:43

15     investing in autonomous vehicles.                                16:43

16                  Do you recall that?                                 16:43

17          A       Yeah.                                               16:43

18          Q       Okay.   I'd like to ask you about a different       16:43

19     type of competition.                                             16:43

20                  Setting aside autonomous vehicles, would you        16:44

21     agree that, as of the date of this document, March 19,           16:44

22     2015, you were competing with Uber

                ?                                                       16:44

24          A       I mean, not in a significant way, I think.          16:44

25          Q       But,                                                16:44

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                                                                    16:45

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1                 MR. VAN NEST:    Object to the form of the             16:45

2      question.                                                         16:45

3                 THE WITNESS:    I mean, I believe they think           16:45

4      that.     I'm not sure I think that.                              16:45

5                 MR. GONZALEZ:    Q.     You don't think that?          16:45

6           A     I think it's possible, and possible not.        I      16:45

7      mean, it's still early.          But, I do think it's somewhat    16:45

8      likely that there is an impact.          I mean, that's not --    16:45

9           Q




                                                                         16:46

20                MR. GONZALEZ:    Q.     What did you mean when you     16:46

21     said it's somewhat likely?                                        16:46

22          A     Well, I don't think you can predict things             16:46

23     with 100 percent likelihood.                                      16:46

24                So, I mean, I've already testified that I              16:46

25     thought                                                           16:46

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1     I believe that's good advice, actually.             So yeah, I      16:46

2     think we should focus on things we do well.             That        16:46

3     doesn't mean that our businesses end up being the                   16:46

4     same.                                                               16:46

5          Q   The date of this document, March of 2015,                  16:46

6     when somebody is preparing a page that talks about                  16:46

7




                                                                          16:47

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                                                                       16:47

3                   MR. GONZALEZ:    Q.   Is that what makes you say   16:47

4      that it's being taken out of context,

                ?                                                      16:47

6           A       I don't know.    I mean, I don't know to -- I'm    16:47

7      happy to spend -- given the amount of time we're                16:47

8      spending questioning, I think I should spend more time          16:47

9      on the document itself, because I don't think I'm               16:47

10     giving that much insight into this versus just reading          16:48

11     the slide.                                                      16:48

12          Q       We have 20 minutes left?                           16:48

13                  MR. VAN NEST:    You know I'd give it to you if    16:48

14     I could, Mr. Gonzalez.         You know that.                   16:48

15                  MR. GONZALEZ:    I even marked my copy, but        16:48

16     that's okay.                                                    16:48

17                  THE WITNESS:    The whole point of this --         16:48

18     like, one of their main points here is,




                                                                       16:49

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                                                                     16:49

11          Q   All right.                                           16:49

12              Let me, at the risk of greatly disappointing         16:49

13     you, show you the last document --                            16:49

14          A   Okay.                                                16:49

15          Q   -- that we're going to use, which is                 16:49

16     Exhibit 1109.                                                 16:49

17              (Document marked Exhibit 1109                        16:49

18               for identification.)                                16:49

19              MR. GONZALEZ:    Q.   Is this an e-mail chain        16:49

20     between you and Mr. Levandowski?                              16:49

21          A   It looks like it, yeah.                              16:49

22          Q   And, you'll notice that, after saying that           16:49

23                           , Mr. Levandowski says:                 16:50

24                                                                   16:50

25              Do you see that?                                     16:50

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1           A   Sure.                                                 16:50

2           Q   Do you agree with that?                               16:50

3           A   I mean,



                                                                      16:50

6           Q   All right.                                            16:50

7               He also says:                                         16:50

8

                                                                      16:50

10              Do you see that?                                      16:50

11          A   Sure.                                                 16:50

12          Q   Do you agree with that?                               16:50

13          A   I mean,




                                                                      16:51

17          Q   And, when he says

                                         do you agree with that?      16:51

19          A   Yes, somewhat.     There's some subtlety, I           16:51

20     think, in this.    But,

                                                                      16:51

22          Q   Sir, let me ask you just a few last                   16:51

23     questions.                                                     16:51

24              Did

                             ?                                        16:51

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1                MR. VAN NEST:    Object to the form --               16:51

2                THE WITNESS:    What is that?                        16:51

3                MR. VAN NEST:    Object to the form of the           16:51

4      question.                                                      16:51

5                MR. GONZALEZ:    Q.     To your knowledge, did       16:51

6                                                                 ?   16:51

7           A    I'm not sure what that is.                           16:51

8           Q    You've never heard of that company?                  16:52

9           A    Don't remember hearing of it.                        16:52

10          Q    Have you heard of a company called Odin Wave?        16:52

11          A    Maybe very recently.                                 16:52

12          Q    During the course of the litigation?                 16:52

13          A    (Witness nods head.)                                 16:52

14          Q    Other than conversations in connection with          16:52

15     the litigation, were you familiar with Odin Wave?              16:52

16          A    No, I don't recall that.                             16:52

17          Q    With respect to Mr. Levandowski, do you              16:52

18     believe that Mr. Levandowski should be able to work in         16:52

19     the autonomous vehicle space going forward?                    16:52

20               MR. VAN NEST:    Object to the form of the           16:52

21     question; calls for a legal conclusion.                        16:52

22               THE WITNESS:    Yeah.     I mean, I'm not a          16:52

23     lawyer.                                                        16:52

24               MR. GONZALEZ:    Setting aside the lawyer            16:52

25     point, I'm not asking legally.                                 16:52

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1             Q     I just want your opinion as an individual.            16:52

2      You know Mr. Levandowski.          You know what the               16:52

3      allegations are in this case.                                      16:52

4             A     Well, there's information that's not come out         16:52

5      yet.       The proceeding is not done.       I generally believe   16:52

6      in the U.S. system and the process we're all                       16:53

7      undergoing here, and I'd like to see the results of                16:53

8      that.                                                              16:53

9             Q     Sitting here today, do you have an opinion,           16:53

10     one way or the other, as to whether Mr. Levandowski                16:53

11     should be allowed to work with autonomous vehicles?                16:53

12                  MR. VAN NEST:    Again, I object to the form.         16:53

13     It's not a fact question that --                                   16:53

14                  THE WITNESS:    I mean --                             16:53

15                  MR. VAN NEST:    -- will lead to --                   16:53

16                  THE WITNESS:    -- I don't know the answer to         16:53

17     that.                                                              16:53

18                  MR. GONZALEZ:    Q.   And then maybe my final         16:53

19     question:       The bonus that Mr. Levandowski received,           16:53

20     120 million, whatever it was, do you believe, or do                16:53

21     you have an opinion, as to whether that needs to be                16:53

22     paid back?                                                         16:53

23                  MR. VAN NEST:    Again, objection to the form         16:53

24     of the question.       It calls for a legal conclusion.            16:53

25                  THE WITNESS:    Yeah, I have no -- no knowledge       16:53

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1      or no answer to that.                                            16:53

2                MR. GONZALEZ:     All right.                           16:53

3                Thank you, sir.     That's all I have.                 16:53

4                THE VIDEOGRAPHER:     This is the end of today's       16:53

5      deposition of Mr. Larry Page.         We are off the record      16:53

6      at 4:54 p.m.                                                     16:53

7                The total number of media used was five.               16:53

8      They will be retained by Veritext.                               16:54

9                Thank you.                                             16:54

10               MR. VAN NEST:     Before we go off the record,         16:54

11     we want to designate the transcript as "Attorneys'               16:54

12     Eyes Only, Highly Confidential, Per the Protective               16:54

13     Order."                                                          16:54

14               MR. GONZALEZ:     All right.     And then I'll just    16:54

15     note that there's an issue that we had to confer about           16:54

16     documents that the witness saw before his deposition             16:54

17     to refresh recollection.                                         16:54

18               MR. VAN NEST:     Thank you.                           16:54

19               (WHEREUPON, the deposition ended                       16:54

20                at 4:54 p.m.)                                         16:54

21

22

23

24

25

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1                             J U R A T
2
3                 I, Larry Page, do hereby certify under
4      penalty of perjury, that I have read the foregoing
5      transcript of my deposition in the matter of Waymo LLC
6      vs. Uber Technologies, Inc., et al., taken on July 17,
7      2017, that I have made such corrections as appear
8      noted herein in ink, initialed by me; that my
9      testimony as contained herein, as corrected, is true
10     and correct.
11
12                DATED this ____ day of _____________, 2017,
13     at ____________________________.
14
15
16
17                __________________________________
18                         SIGNATURE OF WITNESS
19
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